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                                         ADRMOP,APPEAL,CONSOL,ProSe,REFSET-JSC,RELATE,SM,STAYED

                                                   U.S. District Court
                                       California Northern District (San Francisco)
                                    CIVIL DOCKET FOR CASE #: 3:07-cv-05944-JST


 MDL No. 1917 In Re: Cathode Ray Tube (CRT) Antitrust                                   Date Filed: 11/26/2007
 Litigation                                                                             Jury Demand: Plaintiff
 Assigned to: Hon. Jon S. Tigar                                                         Nature of Suit: 410 Anti-Trust
 Relate Case Case: 3:12-mc-80151-JST                                                    Jurisdiction: Federal Question
 Case in other court: 13-80210
                     14-16817
 Cause: 15:1 Antitrust Litigation
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 Honorable Charles A. Legge                                               represented by Charles A. Legge
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 Special Master
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                                                     CAND-ECF Filed 08/05/16 Page 7 of 302

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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
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                                                                  TERMINATED: 01/13/2012

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                                                     CAND-ECF Filed 08/05/16 Page 19 of 302

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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
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                                                                                      Guri Ademi
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      James M. Lockhart
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

                                                                                      Jayne A. Goldstein
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Jennie Lee Anderson
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Jennifer Milici
                                                                                      (See above for address)
                                                                                      TERMINATED: 06/06/2014

                                                                                      Jessica Lynn Meyer
                                                                                      (See above for address)

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                                                                  TERMINATED: 09/12/2013

                                                                          Judith A. Zahid
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kelly Laudon
                                                                          (See above for address)
                                                                          TERMINATED: 09/12/2013

                                                                          Lori Erin Andrus
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Manfred Patrick Muecke
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                                                                          TERMINATED: 01/13/2012

                                                                          Mario Nunzio Alioto
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Matthew Rutledge Schultz
                                                                          (See above for address)
                                                                          TERMINATED: 02/21/2011

                                                                          Michael Jacobs
                                                                          Zelle Hofmann Voelbel Mason & Gette LLP
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                                                                          Qianwei Fu
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                                                                          Richard Michael Hagstrom
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Shpetim Ademi
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Anne M. Nardacci
                                                                          (See above for address)
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1   ATTORNEY TO BE NOTICED              25/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 26 of 302

                                                                  ATTORNEY TO BE NOTICED

                                                                                       James P. McCarthy
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
 Plaintiff

 Central New York Univision Video                                         represented by Christopher T. Heffelﬁnger
 Systems, Inc.                                                                           (See above for address)
 TERMINATED: 03/30/2009                                                                  ATTORNEY TO BE NOTICED

                                                                                       Gary L. Halling
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Guri Ademi
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Jayne A. Goldstein
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Joseph J. Tabacco , Jr.
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Manfred Patrick Muecke
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                                                                                       TERMINATED: 01/13/2012

                                                                                       Manuel Juan Dominguez
                                                                                       (See above for address)
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                                                                                       Marc Jeffrey Greenspon
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                                                                                       Matthew David-Craig Pearson
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                                                                                       Shpetim Ademi
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 Plaintiff

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 Crimson Tech, Inc.                       represented by Christopher T. Heffelﬁnger
 TERMINATED: 03/30/2009                                   (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                                                      Gary L. Halling
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Guri Ademi
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Jayne A. Goldstein
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Joseph J. Tabacco , Jr.
                                                                                      (See above for address)
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                                                                                      Manfred Patrick Muecke
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                                                                                      TERMINATED: 01/13/2012

                                                                                      Manuel Juan Dominguez
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Marc Jeffrey Greenspon
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                                                                                      Matthew David-Craig Pearson
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                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Shpetim Ademi
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

 Plaintiff
 The Stroud Group, Inc.                                                   represented by Eric B. Fastiff
 TERMINATED: 03/30/2009                                                                  (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Brendan Patrick Glackin
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                                                                                      Daniel Bruce Allanoff
                                                                                      Meredith Cohen Greenfogel & Skirnick,
                                                                                      P.C.

https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                       27/813
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                                                     CAND-ECF Filed 08/05/16 Page 28 of 302

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                                                                          Jayne A. Goldstein
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                                                                          Manfred Patrick Muecke
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                                                                          Shpetim Ademi
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                                                                  (See above for address)
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 Plaintiff
 Paula Call                                                               represented by Cadio R. Zirpoli
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 California business                                                                     ATTORNEY TO BE NOTICED
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                                                                                      Guri Ademi
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      James M. Lockhart
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

                                                                                      Jayne A. Goldstein
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                    29/813
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                                                                  (See above for address)
                                                                  TERMINATED: 01/13/2012

                                                                          Jennifer Milici
                                                                          (See above for address)
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                                                                          Jessica Lynn Meyer
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                                                                          Kelly Laudon
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                                                                          Lawrence D. McCabe
                                                                          Murray Frank & Sailer LLP
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                                                                          Manfred Patrick Muecke
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                                                                          Richard Alexander Saveri
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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
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                                                                                       Anne M. Nardacci
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                                                                                       James P. McCarthy
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

 Plaintiff
 Mark Pierce                                                              represented by Gary L. Halling
 TERMINATED: 03/30/2009                                                                  (See above for address)
                                                                                         TERMINATED: 01/13/2012

                                                                                       Guri Ademi
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Henry A. Cirillo
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/05/2011
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Jayne A. Goldstein
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Jonathan Mark Watkins ,
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                                                                                       ATTORNEY TO BE NOTICED

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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 32 of 302

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                                                                                        TERMINATED: 01/13/2012

                                                                                        Matthew E. Van Tine
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                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Michael S. Christian
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                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Shpetim Ademi
                                                                                        (See above for address)
                                                                                        TERMINATED: 01/13/2012

                                                                                        Thomas Patrick Dove
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff
 Princeton Display Technologies, Inc.                                     represented by Bryan L. Clobes
 on behalf of itself and all others similarly                                            Cafferty Clobes Meriwether & Sprengel
 situated, a New Jersey corporation                                                      LLP
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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
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                                                                  (See above for address)
                                                                  TERMINATED: 01/13/2012

                                                                          Guri Ademi
                                                                          (See above for address)
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                                                                          James E. Cecchi
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                                                                          James M. Lockhart
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                                                                          TERMINATED: 09/12/2013

                                                                          Jayne A. Goldstein
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                                                                          TERMINATED: 01/13/2012

                                                                          Jayne Arnold Goldstein
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                                                                          Jennifer Milici
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                                                                          TERMINATED: 06/06/2014

                                                                          Jessica Lynn Meyer
                                                                          (See above for address)
                                                                          TERMINATED: 09/12/2013

                                                                          Kelly Laudon
                                                                          (See above for address)
                                                                          TERMINATED: 09/12/2013

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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
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                                                                          Manfred Patrick Muecke
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                                                                          ATTORNEY TO BE NOTICED

                                                                          Shpetim Ademi
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

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                                                                          Betsy Carol Manifold
                                                                          Wolf Haldenstein Adler Freeman & Herz
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                                                                          Francis M. Gregorek
                                                                          Wolf Haldenstein Adler Freeman & Herz
                                                                          LLP
                                                                          ATTORNEY TO BE NOTICED

                                                                          James P. McCarthy
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                                                                          Rachele R. Rickert
                                                                          Wolf Haldenstein Adler Freeman & Herz
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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 35 of 302

                                                                  LLP
                                                                  ATTORNEY TO BE NOTICED

 Plaintiff
 Greg A Glanz                                                             represented by John Gressette Felder , Jr.
 on behalf of himself and all others similarly                                           McGowan Hood Felder and Johnson
 situated                                                                                1405 Calhoun Street
 TERMINATED: 03/30/2009                                                                  Columbia, SC 29201
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                                                                                       Gary L. Halling
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

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                                                                  Guri Ademi
                                                                  (See above for address)
                                                                  TERMINATED: 01/13/2012

                                                                                       Jayne A. Goldstein
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Manfred Patrick Muecke
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Shpetim Ademi
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012


 Plaintiff
 Carmen Gonzalez                                                          represented by Gary L. Halling
 a California resident, on behalf of herself                                             (See above for address)
 and others similarly situated,                                                          TERMINATED: 01/13/2012

                                                                                       Guri Ademi
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       James M. Lockhart
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       James McManis
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                                                                                       TERMINATED: 01/13/2012

                                                                                       Jennifer Milici
                                                                                       (See above for address)
                                                                                       TERMINATED: 06/06/2014

                                                                                       Jessica Lynn Meyer
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Kelly Laudon
                                                                                       (See above for address)
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                                                                  TERMINATED: 09/12/2013

                                                                                      Manfred Patrick Muecke
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Mario Nunzio Alioto
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                                                                                      Marwa Elzankaly
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                                                                                      Shpetim Ademi
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                                                                                      Anne M. Nardacci
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      James P. McCarthy
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

 Plaintiff
 William E. Stack                                                         represented by Craig C. Corbitt
 a Tennessee resident, on behalf of himself                                              (See above for address)
 and all others similarly situated                                                       LEAD ATTORNEY
 TERMINATED: 03/30/2009                                                                  ATTORNEY TO BE NOTICED

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https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                  37/813
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                                                     CAND-ECF Filed 08/05/16 Page 38 of 302

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                                                                  ATTORNEY TO BE NOTICED

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                                                                          Francis Onofrei Scarpulla
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                                                                          ATTORNEY TO BE NOTICED

                                                                          Gary L. Halling
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Guri Ademi
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Imtiaz A. Siddiqui
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                                                                          Jayne A. Goldstein
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                                                                          Judith A. Zahid
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Manfred Patrick Muecke
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Matthew Rutledge Schultz
                                                                          (See above for address)
                                                                          TERMINATED: 02/21/2011

                                                                          Patrick Bradford Clayton
                                                                          (See above for address)
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                   38/813
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                                                                  TERMINATED: 07/30/2015

                                                                                      Shpetim Ademi
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Traviss Levine Galloway
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 Plaintiff
 Margo Stack                                                              represented by Craig C. Corbitt
 a Tennessee resident, on behalf of herself                                              (See above for address)
 and all others similarly situated                                                       LEAD ATTORNEY
 TERMINATED: 03/30/2009                                                                  ATTORNEY TO BE NOTICED

                                                                                      Terry Rose Saunders
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Thomas Arthur Doyle
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Christopher Lovell
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Francis Onofrei Scarpulla
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Gary L. Halling
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Guri Ademi
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Imtiaz A. Siddiqui
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Jayne A. Goldstein
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

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                                                     CAND-ECF Filed 08/05/16 Page 40 of 302


                                                                                        Judith A. Zahid
                                                                                        (See above for address)
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                                                                                        Manfred Patrick Muecke
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                                                                                        TERMINATED: 01/13/2012

                                                                                        Matthew Rutledge Schultz
                                                                                        (See above for address)
                                                                                        TERMINATED: 02/21/2011

                                                                                        Patrick Bradford Clayton
                                                                                        (See above for address)
                                                                                        TERMINATED: 07/30/2015

                                                                                        Shpetim Ademi
                                                                                        (See above for address)
                                                                                        TERMINATED: 01/13/2012

                                                                                        Traviss Levine Galloway
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff
 Donna Ellingson                                                          represented by Alan Roth Plutzik
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                                                                          Guri Ademi
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                                                                          TERMINATED: 01/13/2012

                                                                          Jayne A. Goldstein
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                                                                          ATTORNEY TO BE NOTICED

                                                                          Shpetim Ademi
                                                                          (See above for address)
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            41/813
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                                                     CAND-ECF Filed 08/05/16 Page 42 of 302

                                                                  TERMINATED: 01/13/2012

                                                                                       Timothy D. Battin
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 Plaintiff
 Samuel J. Nasto                                                          represented by Gary L. Halling
 a Nevada resident                                                                       (See above for address)
                                                                                         TERMINATED: 01/13/2012

                                                                                       Guri Ademi
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       James M. Lockhart
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Jayne A. Goldstein
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Jennifer Milici
                                                                                       (See above for address)
                                                                                       TERMINATED: 06/06/2014

                                                                                       Jessica Lynn Meyer
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                                                                                       TERMINATED: 09/12/2013

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                                                                                       Joseph Mario Patane
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                                                                                       Kelly Laudon
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Kenneth Leo Valinoti
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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 43 of 302

                                                                  Valinoti & Dito LLP
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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 44 of 302


                                                                                       Seymour J. Mansﬁeld
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                                                                                       TERMINATED: 01/13/2012

                                                                                       Anne M. Nardacci
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       James P. McCarthy
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

 Plaintiff
 Patrick Piper                                                            represented by Gary L. Halling
 TERMINATED: 03/30/2009                                                                  (See above for address)
                                                                                         TERMINATED: 01/13/2012

                                                                                       Guri Ademi
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Jayne A. Goldstein
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Joel Flom
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Joseph Mario Patane
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED


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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
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                                                                  Kenneth Leo Valinoti
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                                       Lauren Clare Capurro
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                                                                                       Lawrence Genaro Papale
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                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Mario Nunzio Alioto
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Michael G. Simon
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Robert B. Gerard
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Seymour J. Mansﬁeld
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Sherman Kassof
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Shpetim Ademi
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

 Plaintiff
 Craig Stephenson                                                         represented by Gary L. Halling
 a New Mexico resident                                                                   (See above for address)
                                                                                         TERMINATED: 01/13/2012

https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                     45/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 46 of 302

                                                                  Guri Ademi
                                                                  (See above for address)
                                                                  TERMINATED: 01/13/2012

                                                                          James M. Lockhart
                                                                          (See above for address)
                                                                          TERMINATED: 09/12/2013

                                                                          Jayne A. Goldstein
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Jennifer Milici
                                                                          (See above for address)
                                                                          TERMINATED: 06/06/2014

                                                                          Jessica Lynn Meyer
                                                                          (See above for address)
                                                                          TERMINATED: 09/12/2013

                                                                          Joel Flom
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Joseph Mario Patane
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kelly Laudon
                                                                          (See above for address)
                                                                          TERMINATED: 09/12/2013

                                                                          Kenneth Leo Valinoti
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Lauren Clare Capurro
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Lawrence Genaro Papale
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          M. Eric Frankovitch
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Manfred Patrick Muecke
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Mario Nunzio Alioto
                                                                          (See above for address)
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1   ATTORNEY TO BE NOTICED    46/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 47 of 302

                                                                  ATTORNEY TO BE NOTICED

                                                                                       Michael G. Simon
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Robert B. Gerard
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Seymour J. Mansﬁeld
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Sherman Kassof
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Shpetim Ademi
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Anne M. Nardacci
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       James P. McCarthy
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
 Plaintiff
 David G. Norby                                                           represented by Gary L. Halling
 a Minnesota resident                                                                    (See above for address)
                                                                                         TERMINATED: 01/13/2012

                                                                                       Guri Ademi
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       James M. Lockhart
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Jayne A. Goldstein
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Jennifer Milici
                                                                                       (See above for address)
                                                                                       TERMINATED: 06/06/2014

                                                                                       Jessica Lynn Meyer
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            47/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 48 of 302


                                                                          Joel Flom
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Joseph Mario Patane
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kelly Laudon
                                                                          (See above for address)
                                                                          TERMINATED: 09/12/2013

                                                                          Kenneth Leo Valinoti
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Lauren Clare Capurro
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Lawrence Genaro Papale
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                                                                          ATTORNEY TO BE NOTICED

                                                                          M. Eric Frankovitch
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Manfred Patrick Muecke
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Mario Nunzio Alioto
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Michael G. Simon
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Robert B. Gerard
                                                                          (See above for address)
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                                                                          Seymour J. Mansﬁeld
                                                                          (See above for address)
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                                                                          Sherman Kassof
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                                                                          Shpetim Ademi
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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 49 of 302

                                                                  (See above for address)
                                                                  TERMINATED: 01/13/2012

                                                                                       Anne M. Nardacci
                                                                                       (See above for address)
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                                                                                       James P. McCarthy
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

 Plaintiff
 John Larch                                                               represented by Gary L. Halling
 a West Virginia resident                                                                (See above for address)
                                                                                         TERMINATED: 01/13/2012

                                                                                       Guri Ademi
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       James M. Lockhart
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Jayne A. Goldstein
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Jennifer Milici
                                                                                       (See above for address)
                                                                                       TERMINATED: 06/06/2014

                                                                                       Jessica Lynn Meyer
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Joel Flom
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Joseph Mario Patane
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Kelly Laudon
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Kenneth Leo Valinoti
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Lauren Clare Capurro
                                                                                       (See above for address)
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                ATTORNEY TO BE NOTICED      49/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 50 of 302

                                                                  ATTORNEY TO BE NOTICED

                                                                                       Lawrence Genaro Papale
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       M. Eric Frankovitch
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Manfred Patrick Muecke
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Mario Nunzio Alioto
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Michael G. Simon
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Robert B. Gerard
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Seymour J. Mansﬁeld
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Sherman Kassof
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Shpetim Ademi
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Anne M. Nardacci
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       James P. McCarthy
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

 Plaintiff
 Constance Hare                                                           represented by Gary L. Halling
 TERMINATED: 03/30/2009                                                                  (See above for address)
                                                                                         TERMINATED: 01/13/2012

                                                                                       Guri Ademi
                                                                                       (See above for address)

https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            50/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 51 of 302

                                                                  TERMINATED: 01/13/2012

                                                                          Jayne A. Goldstein
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Joel Flom
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Joseph Mario Patane
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kenneth Leo Valinoti
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Lauren Clare Capurro
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Lawrence Genaro Papale
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          M. Eric Frankovitch
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Manfred Patrick Muecke
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Mario Nunzio Alioto
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Michael G. Simon
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Robert B. Gerard
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Seymour J. Mansﬁeld
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Sherman Kassof
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                             51/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 52 of 302

                                                                  Shpetim Ademi
                                                                  (See above for address)
                                                                  TERMINATED: 01/13/2012
 Plaintiff
 James Stringwell                                                         represented by Gary L. Halling
 TERMINATED: 03/30/2009                                                                  (See above for address)
                                                                                         TERMINATED: 01/13/2012

                                                                                       Guri Ademi
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Jayne A. Goldstein
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Joel Flom
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Joseph Mario Patane
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Kenneth Leo Valinoti
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Lauren Clare Capurro
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Lawrence Genaro Papale
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       M. Eric Frankovitch
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Manfred Patrick Muecke
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Mario Nunzio Alioto
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Michael G. Simon
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Robert B. Gerard
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            52/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 53 of 302

                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                                       Seymour J. Mansﬁeld
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Sherman Kassof
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Shpetim Ademi
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

 Plaintiff
 Gary Hanson                                                              represented by Gary L. Halling
 a North Dakota resident, on behalf of                                                   (See above for address)
 themselves and all others similarly situated                                            TERMINATED: 01/13/2012

                                                                                       Guri Ademi
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       James M. Lockhart
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Jayne A. Goldstein
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Jennifer Milici
                                                                                       (See above for address)
                                                                                       TERMINATED: 06/06/2014

                                                                                       Jessica Lynn Meyer
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Joel Flom
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Joseph Mario Patane
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Kelly Laudon
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Kenneth Leo Valinoti
                                                                                       (See above for address)
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                ATTORNEY TO BE NOTICED      53/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 54 of 302

                                                                  ATTORNEY TO BE NOTICED

                                                                                        Lauren Clare Capurro
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Lawrence Genaro Papale
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        M. Eric Frankovitch
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Manfred Patrick Muecke
                                                                                        (See above for address)
                                                                                        TERMINATED: 01/13/2012

                                                                                        Mario Nunzio Alioto
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Michael G. Simon
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Robert B. Gerard
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Seymour J. Mansﬁeld
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Sherman Kassof
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Shpetim Ademi
                                                                                        (See above for address)
                                                                                        TERMINATED: 01/13/2012

                                                                                        Anne M. Nardacci
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        James P. McCarthy
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED


 Plaintiff
 Margaret Slagle                                                          represented by Daniel R. Karon
 a Vermont resident, on behalf of herself and                                            Karon LLC
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                           54/813
8/5/2016       Case 4:07-cv-05944-JST Document 4747-4
                                                CAND-ECF Filed 08/05/16 Page 55 of 302

 all others similarly situated                               700 W. St. Clair Avenue
                                                             Suite 200
                                                             Cleveland, OH 44113
                                                             216-622-1851
                                                             Fax: 216-241-8175
                                                             Email: dkaron@karonllc.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED

                                                                          Joseph M. Alioto , Sr.
                                                                          (See above for address)
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Angelina Alioto-Grace
                                                                          Alioto Law Firm
                                                                          555 California Street, 31st Floor
                                                                          31st Floor
                                                                          San Francisco, Ca 94104
                                                                          415 434-8900
                                                                          Fax: 415 434-9200
                                                                          Email: sexton@aliotolaw.com
                                                                          ATTORNEY TO BE NOTICED

                                                                          Gary L. Halling
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Guri Ademi
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          James M. Lockhart
                                                                          (See above for address)
                                                                          TERMINATED: 09/12/2013

                                                                          Jayne A. Goldstein
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Jennifer Milici
                                                                          (See above for address)
                                                                          TERMINATED: 06/06/2014

                                                                          Jessica Lynn Meyer
                                                                          (See above for address)
                                                                          TERMINATED: 09/12/2013

                                                                          Joseph Michelangelo Alioto , Jr
                                                                          Alioto Law Firm
                                                                          555 California Street
                                                                          Thirty-ﬁrst Floor
                                                                          San Francisco, CA 94104
                                                                          415/434-8900
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                       55/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 56 of 302

                                                                  Fax: 415-434-9200
                                                                  Email: Joseph.Alioto@usdoj.gov
                                                                  ATTORNEY TO BE NOTICED

                                                                                      Kelly Laudon
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

                                                                                      Manfred Patrick Muecke
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Mario Nunzio Alioto
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Mary Gilmore Kirkpatrick
                                                                                      Kirkpatrick & Goldborough PLLC
                                                                                      1233 Shelburne Road, Suite E-1
                                                                                      South Burlington, VT 05403
                                                                                      802 651-0960
                                                                                      Fax: 802 651-0964
                                                                                      Email: mkirk@vtlawﬁrm.com
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Shpetim Ademi
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Theresa Driscoll Moore
                                                                                      Alioto Law Firm
                                                                                      One Sansome Street
                                                                                      35th Floor
                                                                                      San Francisco, CA 94104
                                                                                      415-434-8900
                                                                                      Fax: 415-434-9200
                                                                                      Email: TMoore@aliotolaw.com
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Anne M. Nardacci
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      James P. McCarthy
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

 Plaintiff
 Barry Kushner                                                            represented by Joseph M. Alioto , Sr.
 on behalf of themselves and all others                                                  (See above for address)
 similarly situated                                                                      LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED


https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                56/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 57 of 302

                                                                  Angelina Alioto-Grace
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                          Daniel R. Karon
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Daniel Joseph Mulligan
                                                                          St. James Recovery Services, P.C.
                                                                          155 Montgomery Street, Suite 1004
                                                                          San Francisco, CA 94104
                                                                          415-391-7566
                                                                          Fax: 415-391-7568
                                                                          Email: dan@jmglawofﬁces.com
                                                                          ATTORNEY TO BE NOTICED

                                                                          Derek G. Howard
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Gary L. Halling
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Guri Ademi
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Jayne A. Goldstein
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Jeffrey D. Bores
                                                                          Chestnut & Cambronne
                                                                          17 Washington Avenue North
                                                                          Suite 300
                                                                          Minneapolis, MN 55401
                                                                          612 339-7300
                                                                          Fax: 612 336-2940
                                                                          Email: jbores@chestnutcambronne.com
                                                                          ATTORNEY TO BE NOTICED

                                                                          Joseph Michelangelo Alioto , Jr
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Karl L. Cambronne
                                                                          Chestnut & Cambronne
                                                                          222 S 9th Street, Suite 3700
                                                                          Minneapolis, MN 55402
                                                                          (612) 339-7300
                                                                          Fax: 612 336-2940
                                                                          Email:
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                         57/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 58 of 302

                                                                  kcambronne@chestnutcambronne.com
                                                                  ATTORNEY TO BE NOTICED

                                                                                      Manfred Patrick Muecke
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Shpetim Ademi
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Theresa Driscoll Moore
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
 Plaintiff
 Jerry Cook                                                               represented by Joseph M. Alioto , Sr.
 on behalf of himself and all others similarly                                           (See above for address)
 situated                                                                                LEAD ATTORNEY
 TERMINATED: 03/30/2009                                                                  ATTORNEY TO BE NOTICED

                                                                                      Angelina Alioto-Grace
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Bruce L. Mulkey
                                                                                      The Mulkey Attorneys Group P.A.
                                                                                      1039 W. Walnut, Suite 3
                                                                                      Rogers, AR 72756
                                                                                      479 631-0481
                                                                                      Fax: 479 631-5994
                                                                                      Email: bruce@mulkeylaw.com
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Charles M. Kester ,
                                                                                      The Kester Law Firm
                                                                                      P.O. Box 184
                                                                                      Fayetteville, AR 72702-0184
                                                                                      479-582-4600
                                                                                      Fax: 479-571-1671
                                                                                      Email: cmkester@nwark.com
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Gary L. Halling
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Guri Ademi
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Jayne A. Goldstein
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                 58/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 59 of 302


                                                                                      Joseph Michelangelo Alioto , Jr
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Manfred Patrick Muecke
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Shpetim Ademi
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Theresa Driscoll Moore
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

 Plaintiff
 Brian A. Luscher                                                         represented by Angelina Alioto-Grace
 a Arizona resident, on behalf of himself and                                            (See above for address)
 all others similarly situated,                                                          ATTORNEY TO BE NOTICED

                                                                                      Gary L. Halling
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Guri Ademi
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      James M. Lockhart
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

                                                                                      Jayne A. Goldstein
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Jennifer Milici
                                                                                      (See above for address)
                                                                                      TERMINATED: 06/06/2014

                                                                                      Jessica Lynn Meyer
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

                                                                                      Joseph Michelangelo Alioto , Jr
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Kelly Laudon
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                 59/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 60 of 302


                                                                                      Manfred Patrick Muecke
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Mario Nunzio Alioto
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Robert James Pohlman
                                                                                      Ryley Carlock & Applewhite PC
                                                                                      1 N Central Avenue, Suite 1200
                                                                                      Phoenix, AZ 85004-4417
                                                                                      602 440-4812
                                                                                      Fax: 602 257-6912
                                                                                      Email: rpohlman@rcalaw.com
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Shpetim Ademi
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Theresa Driscoll Moore
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Anne M. Nardacci
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      James P. McCarthy
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
 Plaintiff
 Scott Friedson                                                           represented by Joseph M. Alioto , Sr.
 on behalf of himself and all others similarly                                           (See above for address)
 situated                                                                                LEAD ATTORNEY
 TERMINATED: 03/30/2009                                                                  ATTORNEY TO BE NOTICED

                                                                                      Angelina Alioto-Grace
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Gary L. Halling
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Guri Ademi
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Jayne A. Goldstein
                                                                                      (See above for address)
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                60/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 61 of 302

                                                                  TERMINATED: 01/13/2012

                                                                                        Joseph Michelangelo Alioto , Jr
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Manfred Patrick Muecke
                                                                                        (See above for address)
                                                                                        TERMINATED: 01/13/2012

                                                                                        Robert James Pohlman
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Shpetim Ademi
                                                                                        (See above for address)
                                                                                        TERMINATED: 01/13/2012

                                                                                        Theresa Driscoll Moore
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff
 Wettstein and Sons, Inc                                                  represented by Katherine T. Kelly
 on behalf of itself and all others similarly                                            Heins Mills & Olson PLC
 situated, is a corporation of Wisconsin                                                 310 Clifton Avenue
 TERMINATED: 03/30/2009                                                                  Mpls, MN 55403
 doing business as                                                                       612 436-5367
 Wettstein's                                                                             Fax: 612 338-4692
 TERMINATED: 03/30/2009                                                                  Email: kkelly@heinsmills.com
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                        Ranae D. Steiner
                                                                                        Heins Mills & Olson PLC
                                                                                        310 Clifton Avenue
                                                                                        Minneapolis, MN 55403
                                                                                        612 338-4605
                                                                                        Fax: 612 338-4692
                                                                                        Email: rsteiner@heinsmills.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Samuel D. Heins
                                                                                        Heins Mills & Olson, P.L.C.
                                                                                        310 Clifton Avenue
                                                                                        Minneapolis, MN 55403
                                                                                        612-338-4605
                                                                                        Fax: 612-338-4692
                                                                                        Email: sheins@heinsmills.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Troy J. Hutchinson
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                   61/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 62 of 302

                                                                  Heins Mills & Olson PLC
                                                                  310 Clifton Avenue
                                                                  Mpls, MN 55403
                                                                  612 338-4605
                                                                  Fax: 612 338-4692
                                                                  Email: thutchinson@heinsmills.com
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED

                                                                          Vincent J. Esades
                                                                          Heins Mills & Olson, P.L.C.
                                                                          310 Clifton Avenue
                                                                          Minneapolis, MN 55403
                                                                          (612) 338-4605
                                                                          Fax: 612-338-4692
                                                                          Email: vesades@heinsmills.com
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Gary L. Halling
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Guido Saveri
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Guri Ademi
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Jayne A. Goldstein
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Joel Cary Meredith
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Manfred Patrick Muecke
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Scott W. Carlson
                                                                          Heins Mills & Olson PLC
                                                                          310 Clifton Avenue
                                                                          Minneapolis, MN 55403
                                                                          612 338-4605
                                                                          Fax: 612 338-4692
                                                                          Email: scarlson@heinsmills.com
                                                                          ATTORNEY TO BE NOTICED

                                                                          Shpetim Ademi
                                                                          (See above for address)
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                    62/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
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                                                                  TERMINATED: 01/13/2012

 Plaintiff
 Industrial Computing, Inc.                                               represented by Gary L. Halling
 on behalf of Itself and all others similarly                                            (See above for address)
 situated                                                                                TERMINATED: 01/13/2012
 TERMINATED: 04/07/2008
                                                                                       Jeffrey Alan Klafter
                                                                                       Klafter & Olsen LLP
                                                                                       1311 Mamaroneck Avenue, Suite 220
                                                                                       White Plains, NY 10602
                                                                                       914 997-5656
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                                                                                       Email: jak@klafterolsen.com
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Joseph Michael Barton
                                                                                       Law Ofﬁces of Joseph M. Barton
                                                                                       P.O. Box 1141
                                                                                       Ross, CA 94957
                                                                                       United Sta
                                                                                       415-235-9162
                                                                                       Email: joebartonesq@gmail.com
                                                                                       ATTORNEY TO BE NOTICED
 Plaintiff
 Steven Ganz                                                              represented by Terry Gross
 a California resident                                                                   (See above for address)
                                                                                         TERMINATED: 09/16/2011
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                       Gary L. Halling
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Guri Ademi
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       James M. Lockhart
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Jayne A. Goldstein
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Jennifer Milici
                                                                                       (See above for address)
                                                                                       TERMINATED: 06/06/2014

                                                                                       Jessica Lynn Meyer
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                    63/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
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                                                                  (See above for address)
                                                                  TERMINATED: 09/12/2013

                                                                                         John Dmitry Bogdanov
                                                                                         Cooper & Kirkham, P.C.
                                                                                         357 Tehama Street
                                                                                         Second Floor
                                                                                         San Francisco, CA 94103
                                                                                         415-788-3030
                                                                                         Fax: 415-882-7040
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                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Josef Deen Cooper
                                                                                         Cooper & Kirkham, P.C.
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                                                                                         Second Floor
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                                                                                         415-788-3030
                                                                                         Fax: 415-882-7040
                                                                                         Email: jdc@coopkirk.com
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Kelly Laudon
                                                                                         (See above for address)
                                                                                         TERMINATED: 09/12/2013

                                                                                         Manfred Patrick Muecke
                                                                                         (See above for address)
                                                                                         TERMINATED: 01/13/2012

                                                                                         Mario Nunzio Alioto
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Shpetim Ademi
                                                                                         (See above for address)
                                                                                         TERMINATED: 01/13/2012

                                                                                         Anne M. Nardacci
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         James P. McCarthy
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Tracy R. Kirkman
                                                                                         Cooper & Kirkham PC
                                                                                         ATTORNEY TO BE NOTICED

 Plaintiff
 Dennis Patrick                                                           represented by Gary L. Halling
 TERMINATED: 03/30/2009                                                                  (See above for address)
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            64/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
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                                                                  TERMINATED: 01/13/2012

                                                                                      Guri Ademi
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Jayne A. Goldstein
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Manfred Patrick Muecke
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Reginald Von Terrell
                                                                                      The Terrell Law Group
                                                                                      Post Ofﬁce Box 13315, PMB #148
                                                                                      Oakland, CA 94661
                                                                                      510-237-9700
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                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Shpetim Ademi
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012
 Plaintiff
 Dana Ross                                                                represented by Kathleen Styles Rogers
 a California resident                                                                   (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Susan Gilah Kupfer
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Gary L. Halling
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Guri Ademi
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      James M. Lockhart
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

                                                                                      Jayne A. Goldstein
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                65/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 66 of 302

                                                                  Jennifer Milici
                                                                  (See above for address)
                                                                  TERMINATED: 06/06/2014

                                                                                        Jessica Lynn Meyer
                                                                                        (See above for address)
                                                                                        TERMINATED: 09/12/2013

                                                                                        Kelly Laudon
                                                                                        (See above for address)
                                                                                        TERMINATED: 09/12/2013

                                                                                        Manfred Patrick Muecke
                                                                                        (See above for address)
                                                                                        TERMINATED: 01/13/2012

                                                                                        Mario Nunzio Alioto
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Shpetim Ademi
                                                                                        (See above for address)
                                                                                        TERMINATED: 01/13/2012

                                                                                        Anne M. Nardacci
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        James P. McCarthy
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff

 Electronic Design Company                                                represented by Charles H. Johnson
 TERMINATED: 06/13/2013                                                                  Charles H Johnson & Associates PA
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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
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                                                                          Garrett D. Blanchﬁeld , Jr.
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                                                                          Mark Reinhardt
                                                                          Reinhardt Wendorf & Blanchﬁeld
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                                                                          St. Paul, MN 55101
                                                                          651-227-9990
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                                                                          New Brighton, MN 55113
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                                                                          William G. Caldes
                                                                          Spector, Roseman, Kodroff & Willis, P.C.
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                                                                          Suite 2500
                                                                          Philadelphia, PA 19103
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                                                                          Email: bcaldes@srkw-law.com
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Cadio R. Zirpoli
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Gary L. Halling
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Guido Saveri
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Guri Ademi
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                             67/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
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                                                                  (See above for address)
                                                                  TERMINATED: 01/13/2012

                                                                                       James M. Lockhart
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Jayne A. Goldstein
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Jennifer Milici
                                                                                       (See above for address)
                                                                                       TERMINATED: 06/06/2014

                                                                                       Jessica Lynn Meyer
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Kelly Laudon
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Manfred Patrick Muecke
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Richard Alexander Saveri
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Shpetim Ademi
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Anne M. Nardacci
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       James P. McCarthy
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

 Plaintiff
 Brigid Terry                                                             represented by Jean B. Roth
 a Wisconsin resident, on behalf of herself                                              Mansﬁeld Tanick & Cohen
 and all others similarly situated                                                       1700 U.S. Bank Plaza South
                                                                                         220 South Sixth Street
                                                                                         Minneapolis, MN 55402-4511
                                                                                         (612) 339-4295
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED


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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 69 of 302

                                                                  Joseph Mario Patane
                                                                  (See above for address)
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED

                                                                          Kenneth Leo Valinoti
                                                                          (See above for address)
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Lauren Clare Capurro
                                                                          (See above for address)
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Lawrence Genaro Papale
                                                                          (See above for address)
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Lawrence P. Schaefer
                                                                          Mansﬁeld Tanick & Cohen
                                                                          1700 U.S. Bank Plaza South
                                                                          220 South Sixth Street
                                                                          Minneapolis, MN 55402-4511
                                                                          (612) 339-4295
                                                                          TERMINATED: 10/25/2013
                                                                          LEAD ATTORNEY

                                                                          Mario Nunzio Alioto
                                                                          (See above for address)
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Robert J. Bonsignore
                                                                          Bonsignore Trial Lawyers, PLLC
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                                                                          Las Vegas, NV 89031
                                                                          781-856-7650
                                                                          Fax: 781-391-9496
                                                                          Email: rbonsignore@class-actions.us
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Seymour J. Mansﬁeld
                                                                          (See above for address)
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Sherman Kassof
                                                                          (See above for address)
                                                                          LEAD ATTORNEY
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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 70 of 302

                                                                  Gary L. Halling
                                                                  (See above for address)
                                                                  TERMINATED: 01/13/2012

                                                                                      Guri Ademi
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      James M. Lockhart
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

                                                                                      Jayne A. Goldstein
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Jennifer Milici
                                                                                      (See above for address)
                                                                                      TERMINATED: 06/06/2014

                                                                                      Jessica Lynn Meyer
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

                                                                                      Kelly Laudon
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

                                                                                      Manfred Patrick Muecke
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Shpetim Ademi
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Anne M. Nardacci
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      James P. McCarthy
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
 Plaintiff
 Anthony Gianasca                                                         represented by Jean B. Roth
 on behalf of himself and all others similarly                                           (See above for address)
 situated                                                                                LEAD ATTORNEY
 TERMINATED: 03/30/2009                                                                  ATTORNEY TO BE NOTICED

                                                                                      Joseph Mario Patane
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            70/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 71 of 302


                                                                          Kenneth Leo Valinoti
                                                                          (See above for address)
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Lauren Clare Capurro
                                                                          (See above for address)
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Lawrence Genaro Papale
                                                                          (See above for address)
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Lawrence P. Schaefer
                                                                          (See above for address)
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Mario Nunzio Alioto
                                                                          (See above for address)
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Robert J. Bonsignore
                                                                          (See above for address)
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Seymour J. Mansﬁeld
                                                                          (See above for address)
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Sherman Kassof
                                                                          (See above for address)
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Gary L. Halling
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Guri Ademi
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Jayne A. Goldstein
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Manfred Patrick Muecke
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                             71/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 72 of 302

                                                                  (See above for address)
                                                                  TERMINATED: 01/13/2012

                                                                                      Shpetim Ademi
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012
 Plaintiff
 Brighid Flaherty                                                         represented by Jean B. Roth
 on behalf of herself and all others similarly                                           (See above for address)
 situated                                                                                LEAD ATTORNEY
 TERMINATED: 03/30/2009                                                                  ATTORNEY TO BE NOTICED

                                                                                      Joseph Mario Patane
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Kenneth Leo Valinoti
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Lauren Clare Capurro
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Lawrence Genaro Papale
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Lawrence P. Schaefer
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Mario Nunzio Alioto
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Robert J. Bonsignore
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Seymour J. Mansﬁeld
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Sherman Kassof
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            72/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 73 of 302

                                                                  (See above for address)
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED

                                                                                      Gary L. Halling
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Guri Ademi
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Jayne A. Goldstein
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Manfred Patrick Muecke
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Shpetim Ademi
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

 Plaintiff
 Bridget Ten Eyck                                                         represented by Jean B. Roth
 on behalf of herself and all others similarly                                           (See above for address)
 situated                                                                                LEAD ATTORNEY
 TERMINATED: 03/30/2009                                                                  ATTORNEY TO BE NOTICED

                                                                                      Joseph Mario Patane
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Kenneth Leo Valinoti
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Lauren Clare Capurro
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Lawrence Genaro Papale
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Lawrence P. Schaefer
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY

https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1               ATTORNEY TO BE NOTICED       73/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 74 of 302

                                                                  ATTORNEY TO BE NOTICED

                                                                                       Mario Nunzio Alioto
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Robert J. Bonsignore
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Seymour J. Mansﬁeld
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Sherman Kassof
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Gary L. Halling
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Guri Ademi
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Jayne A. Goldstein
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Manfred Patrick Muecke
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Shpetim Ademi
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

 Plaintiff
 Southern Ofﬁce Supply, Inc                                               represented by Gilmur Roderick Murray
 on behalf of itself and all others similarly                                            Murray & Howard, LLP
 situated                                                                                760 Market Street
                                                                                         Suite 1068
                                                                                         San Francisco, CA 94102
                                                                                         415-461-3200
                                                                                         Email: gmurray@murrayhowardlaw.com
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                       Daniel R. Karon
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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 75 of 302

                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                          Donna F Solen
                                                                          Lexington Law Group
                                                                          503 Divisidero Street
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                                                                          Gary L. Halling
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                                                                          James M. Lockhart
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                                                                          Jayne A. Goldstein
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Jennifer Milici
                                                                          (See above for address)
                                                                          TERMINATED: 06/06/2014

                                                                          Jessica Lynn Meyer
                                                                          (See above for address)
                                                                          TERMINATED: 09/12/2013

                                                                          Kelly Laudon
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                         75/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
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                                                                  (See above for address)
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                                                                                        Krishna Brian Narine
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                                                                                        Manfred Patrick Muecke
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                                                                                        Mario Nunzio Alioto
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Shpetim Ademi
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                                                                                        Steven J. Miller
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                                                                                        (See above for address)
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                                                                                        James P. McCarthy
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                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff
 OK TV & Appliances, LLC                                                  represented by Elizabeth R. Odette
 on behalf of itself and all others similarly                                            Lockridge Grindal Nauen P.L.L.P.
 situated                                                                                2200
 TERMINATED: 03/30/2009                                                                  100 Washington Avenue South
                                                                                         Minneapolis, MN 55401
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                                                                                         Fax: 612-339-0981
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                                                                                        Lisa J. Rodriguez
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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
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                                                                  Trujillo Rodriguez & Richards LLP
                                                                  8 Kings Highway West
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                                                                  (856) 795 9002
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                                                                                        Guri Ademi
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                                                                                        Jayne A. Goldstein
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                                                                                        TERMINATED: 01/13/2012

                                                                                        Manfred Patrick Muecke
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                                                                                        TERMINATED: 01/13/2012

                                                                                        Shpetim Ademi
                                                                                        (See above for address)
                                                                                        TERMINATED: 01/13/2012
 Plaintiff
 Charles Benson                                                           represented by Gordon Ball
 on behalf of himself and all others similarly                                           Law Ofﬁce Gordon Ball
 situated                                                                                7001 Old Kent Drive
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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
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                                                                  (See above for address)
                                                                  TERMINATED: 01/13/2012

                                                                                        Jayne A. Goldstein
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                                                                                        Jennifer Milici
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                                                                                        TERMINATED: 06/06/2014

                                                                                        Manfred Patrick Muecke
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 Plaintiff
 Meijer, Inc.                                                             represented by Gregory K Arenson ,
 On behalf of themselves and all others                                                  Kaplan Fox and Kilsheimer LLP
 similarly situated                                                                      850 Third Ave.
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                                                     CAND-ECF Filed 08/05/16 Page 79 of 302

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                                                                          TERMINATED: 09/12/2013

                                                                          Jayne A. Goldstein
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                                                                          TERMINATED: 01/13/2012

                                                                          Jennifer Milici
                                                                          (See above for address)
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                                                                          Jessica Lynn Meyer
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https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                    79/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
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                                                                                      Shpetim Ademi
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                                                                                      TERMINATED: 01/13/2012

                                                                                      Anne M. Nardacci
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      James P. McCarthy
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
 Plaintiff
 Meijer Distribution, Inc.                                                represented by Gregory K Arenson ,
 on behalf of themselves and all others                                                  (See above for address)
 similarly situated                                                                      LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Robert N. Kaplan
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      David Paul Germaine
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Gary L. Halling
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https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                  80/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 81 of 302

                                                                  TERMINATED: 01/13/2012

                                                                          Gary Laurence Specks
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Guri Ademi
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          James M. Lockhart
                                                                          (See above for address)
                                                                          TERMINATED: 09/12/2013

                                                                          Jayne A. Goldstein
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Jennifer Milici
                                                                          (See above for address)
                                                                          TERMINATED: 06/06/2014

                                                                          Jessica Lynn Meyer
                                                                          (See above for address)
                                                                          TERMINATED: 09/12/2013

                                                                          Joseph Michael Vanek
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kelly Laudon
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                                                                          Manfred Patrick Muecke
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                                                                          Shpetim Ademi
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                                                                  TERMINATED: 01/13/2012

                                                                                        Anne M. Nardacci
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        James P. McCarthy
                                                                                        (See above for address)
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 Plaintiff
 Arch Electronics, Inc                                                    represented by Anthony J. Bolognese
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                                                                                        Gregory K Arenson ,
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                                                                                        Guri Ademi
                                                                                        (See above for address)

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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 83 of 302

                                                                  TERMINATED: 01/13/2012

                                                                          James M. Lockhart
                                                                          (See above for address)
                                                                          TERMINATED: 09/12/2013

                                                                          Jayne A. Goldstein
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Jennifer Milici
                                                                          (See above for address)
                                                                          TERMINATED: 06/06/2014

                                                                          Jessica Lynn Meyer
                                                                          (See above for address)
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                                                                          Manfred Patrick Muecke
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                                                                          TERMINATED: 01/13/2012

                                                                          Shpetim Ademi
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Anne M. Nardacci
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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 84 of 302

                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                                        James P. McCarthy
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff
 Royal Data Services, Inc.                                                represented by Lisa J. Rodriguez
 on behalf of itself and all others similarly                                            Trujillo Rodriguez & Richards LLP
 situated, is a Hawaii corporation                                                       8 Kings Highway West
 TERMINATED: 03/30/2009                                                                  Haddonﬁeld, NJ 08033
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                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                        Elizabeth R. Odette
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                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Gary L. Halling
                                                                                        (See above for address)
                                                                                        TERMINATED: 01/13/2012

                                                                                        Guri Ademi
                                                                                        (See above for address)
                                                                                        TERMINATED: 01/13/2012

                                                                                        Jayne A. Goldstein
                                                                                        (See above for address)
                                                                                        TERMINATED: 01/13/2012

                                                                                        Manfred Patrick Muecke
                                                                                        (See above for address)
                                                                                        TERMINATED: 01/13/2012

                                                                                        Shpetim Ademi
                                                                                        (See above for address)
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 Plaintiff
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8/5/2016  Case 4:07-cv-05944-JST Document 4747-4
                                           CAND-ECF Filed 08/05/16 Page 85 of 302

 TERMINATED: 03/30/2009                                 (See above for address)
                                                        TERMINATED: 01/13/2012

                                                                                        Guri Ademi
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                                                                                        TERMINATED: 01/13/2012

                                                                                        Jayne A. Goldstein
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                                                                                        TERMINATED: 01/13/2012

                                                                                        Manfred Patrick Muecke
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                                                                                        Reginald Von Terrell
                                                                                        (See above for address)
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                                                                                        TERMINATED: 01/13/2012
 Plaintiff
 Studio Spectrum, Inc.                                                    represented by Steven F. Benz
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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 86 of 302

                                                                  Gary L. Halling
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                                                                          TERMINATED: 01/13/2012

                                                                          Jayne A. Goldstein
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Jennifer Milici
                                                                          (See above for address)
                                                                          TERMINATED: 06/06/2014

                                                                          Jessica Lynn Meyer
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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 87 of 302

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                                                                                         LEAD ATTORNEY
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                                                                                        Email: amorganti@milberg.com
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                                                                                        Guri Ademi
                                                                                        (See above for address)
                                                                                        TERMINATED: 01/13/2012

                                                                                        Jayne A. Goldstein
                                                                                        (See above for address)
                                                                                        TERMINATED: 01/13/2012

                                                                                        Manfred Patrick Muecke
                                                                                        (See above for address)
                                                                                        TERMINATED: 01/13/2012

                                                                                        Peter G.A. Saﬁrstein
                                                                                        Morgan & Morgan
                                                                                        5 Penn Plaza
                                                                                        23rd Floor
                                                                                        New York, NY 10001
                                                                                        646-378-2198
                                                                                        Fax: 813-222-2493
                                                                                        Email: psaﬁrstein@forthepeople.com
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Shpetim Ademi
                                                                                        (See above for address)
                                                                                        TERMINATED: 01/13/2012

 Plaintiff
 Kory Pentland                                                            represented by Elizabeth Anne McKenna ,
 a Michigan resident                                                                     Milberg LLP
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                      87/813
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                                                                  One Pennsylvania Plaza
                                                                  50th Floor
                                                                  NY, NY 10119
                                                                  212-631-8605
                                                                  Fax:
                                                                  Email: emckenna@milberg.com
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED

                                                                          Jeff S. Westerman
                                                                          (See above for address)
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Paul F. Novak
                                                                          Milberg LLP
                                                                          Chrysler House
                                                                          719 Griswold Street, Suite 620
                                                                          Detroit, MI 48226
                                                                          313-360-1760
                                                                          Fax: 313-447-2038
                                                                          Email: pnovak@milberg.com
                                                                          LEAD ATTORNEY
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Andrew J. Morganti
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Guri Ademi
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          James M. Lockhart
                                                                          (See above for address)
                                                                          TERMINATED: 09/12/2013

                                                                          Jayne A. Goldstein
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Jessica Lynn Meyer
                                                                          (See above for address)
                                                                          TERMINATED: 09/12/2013

                                                                          Kelly Laudon
                                                                          (See above for address)
                                                                          TERMINATED: 09/12/2013

                                                                          Manfred Patrick Muecke
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

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                                                                  Mario Nunzio Alioto
                                                                  (See above for address)
                                                                  ATTORNEY TO BE NOTICED

                                                                                      Peter G.A. Saﬁrstein
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Shpetim Ademi
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Anne M. Nardacci
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      James P. McCarthy
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

 Plaintiff
 Jim Brown                                                                represented by Jeff S. Westerman
 on behalf of themselves & others similarly                                              (See above for address)
 situated                                                                                LEAD ATTORNEY
 TERMINATED: 03/30/2009                                                                  ATTORNEY TO BE NOTICED

                                                                                      Andrew J. Morganti
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Guri Ademi
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Jayne A. Goldstein
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Manfred Patrick Muecke
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Mario Nunzio Alioto
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Peter G.A. Saﬁrstein
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Shpetim Ademi
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 90 of 302

 Plaintiff
 Radio & TV Equipment, Inc                                                represented by Lisa J. Rodriguez
 is a business headquartered in Fargo, North                                             (See above for address)
 Dakota                                                                                  LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                        James M. Lockhart
                                                                                        (See above for address)
                                                                                        TERMINATED: 09/12/2013

                                                                                        Jason Kilene
                                                                                        Gustafson Gluek PLLC
                                                                                        Canadian Paciﬁc Plaza
                                                                                        120 South 6th Street, Suite 2600
                                                                                        Minneapolis, MN 55402
                                                                                        (612)333-8844
                                                                                        Email: jkilene@gustafsongluek.com
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Jayne A. Goldstein
                                                                                        (See above for address)
                                                                                        TERMINATED: 01/13/2012

                                                                                        Jennifer Milici
                                                                                        (See above for address)
                                                                                        TERMINATED: 06/06/2014

                                                                                        Jessica Lynn Meyer
                                                                                        (See above for address)
                                                                                        TERMINATED: 09/12/2013

                                                                                        Kelly Laudon
                                                                                        (See above for address)
                                                                                        TERMINATED: 09/12/2013

                                                                                        Manfred Patrick Muecke
                                                                                        (See above for address)
                                                                                        TERMINATED: 01/13/2012

                                                                                        Anne M. Nardacci
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        James P. McCarthy
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff
 SOUND INVESTMENTS                                                        represented by Lisa J. Rodriguez
 CORPORATION                                                                             Trujillo Rodriguez & Richards LLP
 TERMINATED: 03/30/2009                                                                  258 Kings Highway East
 doing business as                                                                       Haddonﬁeld, NJ 08033
 EGGERS AUDIO-VIDEO                                                                      (856) 795 9002

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                                           CAND-ECF Filed 08/05/16 Page 91 of 302

 TERMINATED: 03/30/2009                                 Email: lisa@trrlaw.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                                                      Manfred Patrick Muecke
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      James P. McCarthy
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
 Plaintiff
 Brady Lane Cotton                                                        represented by Mario Nunzio Alioto
 a Florida resident                                                                      (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Christina Diane Crow
                                                                                      Jinks, Crow & Dickson P.C.
                                                                                      P.O. Box 350
                                                                                      219 Prairie St N
                                                                                      Union Springs, AL 36089
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                                                                                      Fax: 334-738-4229
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                                                                                      ATTORNEY TO BE NOTICED

                                                                                      J. Matthew Stephens
                                                                                      McCallum Methvin & Terrell PC
                                                                                      2201 Arlington Avenue
                                                                                      Birmingham, AL 35205
                                                                                      205 939-0199
                                                                                      Fax: 205 939-0399
                                                                                      Email: sreynolds@mmlaw.net
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      James M. Lockhart
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

                                                                                      James Michael Terrell
                                                                                      McCallum, Methvin & Terrell, P.C.
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                                                                                      205-939-0199
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                                                                                      Email: jterrell@mmlaw.net
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                                                                                      Jennifer Milici
                                                                                      (See above for address)
                                                                                      TERMINATED: 06/06/2014

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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
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                                                                  Jessica Lynn Meyer
                                                                  (See above for address)
                                                                  TERMINATED: 09/12/2013

                                                                                      Kelly Laudon
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

                                                                                      Lauren Clare Capurro
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Manfred Patrick Muecke
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Robert G. Methvin
                                                                                      McCallum Methvin & Terrell PC
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                                                                                      Robert Gordon Methvin , Jr
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Anne M. Nardacci
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      James P. McCarthy
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Lynn W. Jinks
                                                                                      Jinks Crow & Dickson PC
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Nathan A. Dickson
                                                                                      Jinks Crow & Dickson PC
                                                                                      ATTORNEY TO BE NOTICED

 Plaintiff
 Colleen Sobotka                                                          represented by Mario Nunzio Alioto
 a Florida resident                                                                      (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Christopher William Cantrell
                                                                                      2204 Lakeshore Drive

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                                                                  Suite 208, Lakeshore Park Plaza
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                                                                          J. Matthew Stephens
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                                                                          James M. Lockhart
                                                                          (See above for address)
                                                                          TERMINATED: 09/12/2013

                                                                          James Michael Terrell
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jennifer Milici
                                                                          (See above for address)
                                                                          TERMINATED: 06/06/2014

                                                                          Jessica Lynn Meyer
                                                                          (See above for address)
                                                                          TERMINATED: 09/12/2013

                                                                          Keith Thomson Belt , Jr.
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                                                                          Kelly Laudon
                                                                          (See above for address)
                                                                          TERMINATED: 09/12/2013

                                                                          Lauren Clare Capurro
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Manfred Patrick Muecke
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Robert Page Bruner
                                                                          Belt Law Firm, P.C.
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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 94 of 302

                                                                  Birmingham, AL 35209
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                                                                                      Robert G. Methvin
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                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Robert Gordon Methvin , Jr
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                                                                                      ATTORNEY TO BE NOTICED

                                                                                      William Tipton Johnson , III
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                                                                                      TERMINATED: 02/09/2010
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Anne M. Nardacci
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                                                                                      ATTORNEY TO BE NOTICED

                                                                                      James P. McCarthy
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Lynn W. Jinks
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Nathan A. Dickson
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
 Plaintiff
 Daniel Riebow                                                            represented by Mario Nunzio Alioto
 a Hawaii resident                                                                       (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      James M. Lockhart
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

                                                                                      Jennifer Milici
                                                                                      (See above for address)
                                                                                      TERMINATED: 06/06/2014
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                 94/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
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                                                                                       Jessica Lynn Meyer
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Kelly Laudon
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Lauren Clare Capurro
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Manfred Patrick Muecke
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Anne M. Nardacci
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       James P. McCarthy
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

 Plaintiff
 Travis Burau                                                             represented by Elizabeth Anne McKenna ,
 a Iowa resident                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                       Mario Nunzio Alioto
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Paul F. Novak
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       James M. Lockhart
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Jennifer Milici
                                                                                       (See above for address)
                                                                                       TERMINATED: 06/06/2014

                                                                                       Jessica Lynn Meyer
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

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8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 96 of 302


                                                                                         Kelly Laudon
                                                                                         (See above for address)
                                                                                         TERMINATED: 09/12/2013

                                                                                         Lauren Clare Capurro
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Manfred Patrick Muecke
                                                                                         (See above for address)
                                                                                         TERMINATED: 01/13/2012

                                                                                         Anne M. Nardacci
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         James P. McCarthy
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED
 Plaintiff
 Andrew Kindt                                                             represented by James P. McCarthy
 a Michigan resident                                                                     (See above for address)
                                                                                         LEAD ATTORNEY

                                                                                         Mario Nunzio Alioto
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         James M. Lockhart
                                                                                         (See above for address)
                                                                                         TERMINATED: 09/12/2013

                                                                                         Jennifer Milici
                                                                                         (See above for address)
                                                                                         TERMINATED: 06/06/2014

                                                                                         Jessica Lynn Meyer
                                                                                         (See above for address)
                                                                                         TERMINATED: 09/12/2013

                                                                                         Kelly Laudon
                                                                                         (See above for address)
                                                                                         TERMINATED: 09/12/2013

                                                                                         Lauren Clare Capurro
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Manfred Patrick Muecke
                                                                                         (See above for address)
                                                                                         TERMINATED: 01/13/2012
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            96/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 97 of 302


                                                                                       Anne M. Nardacci
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

 Plaintiff
 James Brown                                                              represented by Elizabeth Anne McKenna ,
 a Michigan resident                                                                     (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                       Mario Nunzio Alioto
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Paul F. Novak
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       James M. Lockhart
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Jennifer Milici
                                                                                       (See above for address)
                                                                                       TERMINATED: 06/06/2014

                                                                                       Jessica Lynn Meyer
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Kelly Laudon
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Lauren Clare Capurro
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Manfred Patrick Muecke
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Anne M. Nardacci
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       James P. McCarthy
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                             97/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 98 of 302

 Plaintiff
 Alan Rotman                                                              represented by Mario Nunzio Alioto
 a Minnesota resident                                                                    (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                       James M. Lockhart
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Jennifer Milici
                                                                                       (See above for address)
                                                                                       TERMINATED: 06/06/2014

                                                                                       Jessica Lynn Meyer
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Kelly Laudon
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Lauren Clare Capurro
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Manfred Patrick Muecke
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Anne M. Nardacci
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       James P. McCarthy
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
 Plaintiff
 Ryan Rizzo                                                               represented by Elizabeth Anne McKenna ,
 a Minnesota resident                                                                    (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                       Mario Nunzio Alioto
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Paul F. Novak
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       PRO HAC VICE

https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                             98/813
8/5/2016            Case 4:07-cv-05944-JST Document 4747-4
                                                     CAND-ECF Filed 08/05/16 Page 99 of 302

                                                                  ATTORNEY TO BE NOTICED

                                                                                      James M. Lockhart
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

                                                                                      Jennifer Milici
                                                                                      (See above for address)
                                                                                      TERMINATED: 06/06/2014

                                                                                      Jessica Lynn Meyer
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

                                                                                      Kelly Laudon
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

                                                                                      Lauren Clare Capurro
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Manfred Patrick Muecke
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Anne M. Nardacci
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      James P. McCarthy
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
 Plaintiff
 Charles Jenkins                                                          represented by Mario Nunzio Alioto
 a Mississippi resident                                                                  (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      J. Matthew Stephens
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      James M. Lockhart
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

                                                                                      James Michael Terrell
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Jennifer Milici
                                                                                      (See above for address)
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            99/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 100 of 302

                                                                TERMINATED: 06/06/2014

                                                                                      Jessica Lynn Meyer
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

                                                                                      Kelly Laudon
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

                                                                                      Lauren Clare Capurro
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Robert G. Methvin
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Anne M. Nardacci
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      James P. McCarthy
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Lynn W. Jinks
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Nathan A. Dickson
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

 Plaintiff
 Daniel R. Hergert                                                        represented by Mario Nunzio Alioto
 a Nebraska resident                                                                     (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      James M. Lockhart
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                                                                                      TERMINATED: 09/12/2013

                                                                                      Jennifer Milici
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                                                                                      Jessica Lynn Meyer
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

                                                                                      Kelly Laudon
                                                                                      (See above for address)
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            100/813
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                                                                TERMINATED: 09/12/2013

                                                                                      Lauren Clare Capurro
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Manfred Patrick Muecke
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                                                                                      Anne M. Nardacci
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                                                                                      ATTORNEY TO BE NOTICED

                                                                                      James P. McCarthy
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 Plaintiff
 Adrienne Belai                                                           represented by Mario Nunzio Alioto
 a New York resident                                                                     (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      James M. Lockhart
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

                                                                                      Jennifer Milici
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                                                                                      Jessica Lynn Meyer
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                                                                                      Kelly Laudon
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                                                                                      Lauren Clare Capurro
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Manfred Patrick Muecke
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Anne M. Nardacci
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                                                                                      ATTORNEY TO BE NOTICED

                                                                                      James P. McCarthy

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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED
 Plaintiff
 Joshua Maida                                                             represented by Elizabeth Anne McKenna ,
 a North Carolina resident                                                               (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                       Mario Nunzio Alioto
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Paul F. Novak
                                                                                       (See above for address)
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                                                                                       James M. Lockhart
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                                                                                       TERMINATED: 09/12/2013

                                                                                       Jennifer Milici
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                                                                                       Jessica Lynn Meyer
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Kelly Laudon
                                                                                       (See above for address)
                                                                                       TERMINATED: 09/12/2013

                                                                                       Lauren Clare Capurro
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Manfred Patrick Muecke
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                                                                                       TERMINATED: 01/13/2012

                                                                                       Anne M. Nardacci
                                                                                       (See above for address)
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                                                                                       James P. McCarthy
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

 Plaintiff

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 Rosemary Ciccone                          represented by Mario Nunzio Alioto
 a Rhode Island resident                                  (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                                                      James M. Lockhart
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

                                                                                      Jennifer Milici
                                                                                      (See above for address)
                                                                                      TERMINATED: 06/06/2014

                                                                                      Jessica Lynn Meyer
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

                                                                                      Kelly Laudon
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

                                                                                      Lauren Clare Capurro
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                                                                                      Manfred Patrick Muecke
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                                                                                      Robert J. Bonsignore
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                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Anne M. Nardacci
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                                                                                      ATTORNEY TO BE NOTICED

                                                                                      James P. McCarthy
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                                                                                      ATTORNEY TO BE NOTICED

 Plaintiff
 Donna Marie Ellington                                                    represented by Mario Nunzio Alioto
 a South Dakota resident                                                                 (See above for address)
 TERMINATED: 03/30/2009                                                                  LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Lauren Clare Capurro
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                                                                                      Manfred Patrick Muecke
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 Plaintiff
 Frank Warner                                                             represented by Mario Nunzio Alioto
 a Tennessee resident                                                                    (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      James M. Lockhart
                                                                                      (See above for address)
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                                                                                      Jennifer Milici
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                                                                                      Jessica Lynn Meyer
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                                                                                      Kelly Laudon
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                                                                                      Lauren Clare Capurro
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                                                                                      Anne M. Nardacci
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 Plaintiff
 Albert Sidney Crigler                                                    represented by Mario Nunzio Alioto
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                                                                ATTORNEY TO BE NOTICED

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                                                                          Jessica Lynn Meyer
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                                                                          TERMINATED: 09/12/2013

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                                                                          ATTORNEY TO BE NOTICED
 Plaintiff

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 Direct Purchaser Plaintiffs              represented by Richard Alexander Saveri
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                                                         ATTORNEY TO BE NOTICED

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                                                                          ATTORNEY TO BE NOTICED

                                                                          James M. Lockhart
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 108 of 302

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                                                                                        Daniel D. Cowen
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                                                                                        James P. McCarthy
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                                                                                        P. John Brady
                                                                                        Shughart Thomson & Kilroy PC
                                                                                        ATTORNEY TO BE NOTICED

 Plaintiff
 Indirect Purchaser Plaintiffs                                            represented by Lingel Hart Winters
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 109 of 302

                                                                ATTORNEY TO BE NOTICED

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                                                                          James M. Lockhart
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                                                                          TERMINATED: 09/12/2013

                                                                          Jennie Lee Anderson
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                                                                          Jennifer Milici
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                                                                          Jennifer Susan Rosenberg
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                                                                          Jessica Lynn Meyer
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                                                                          John Dmitry Bogdanov
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                                                                          Joseph Mario Patane
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                                                                          Judith A. Zahid
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                                                                          Kelly Laudon
                                                                          (See above for address)
                                                                          TERMINATED: 09/12/2013
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 110 of 302


                                                                                      Lauren Clare Capurro
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                                                                                      Mario Nunzio Alioto
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                                                                                      James P. McCarthy
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                                                                                      ATTORNEY TO BE NOTICED

 Plaintiff
 Indirect Purchaser Plaintiffs                                            represented by Mario Nunzio Alioto
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Robert J. Gralewski , Jr.
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
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                                                                                      Charles Matthew Thompson
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                                                                                      Christopher Thomas Micheletti
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 111 of 302

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                                                                          Francis Onofrei Scarpulla
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                                                                          James M. Lockhart
                                                                          (See above for address)
                                                                          TERMINATED: 09/12/2013

                                                                          Jennie Lee Anderson
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jennifer Milici
                                                                          (See above for address)
                                                                          TERMINATED: 06/06/2014

                                                                          Jessica Lynn Meyer
                                                                          (See above for address)
                                                                          TERMINATED: 09/12/2013

                                                                          Josef Deen Cooper
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                                                                          ATTORNEY TO BE NOTICED

                                                                          Joseph Mario Patane
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                                                                          ATTORNEY TO BE NOTICED

                                                                          Kelly Laudon
                                                                          (See above for address)
                                                                          TERMINATED: 09/12/2013

                                                                          Lauren Clare Capurro
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                                                                          ATTORNEY TO BE NOTICED

                                                                          Lingel Hart Winters
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                                                    CAND-ECFFiled 08/05/16 Page 112 of 302

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                                                                                        James P. McCarthy
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 113 of 302

                                                                James M. Lockhart
                                                                (See above for address)
                                                                TERMINATED: 09/12/2013

                                                                                      Jennifer Milici
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                                                                                      TERMINATED: 06/06/2014

                                                                                      Jessica Lynn Meyer
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

                                                                                      Kelly Laudon
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/12/2013

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 Plaintiff
 Electrograph Systems, Inc                                                represented by Anne M. Nardacci
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                                                                                      TERMINATED: 09/12/2013

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                                                                Kelly Laudon
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                                                                                        Kelly Laudon
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 Plaintiff
 Compucom Systems Inc                                                     represented by Lewis Titus LeClair
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                                                                          TERMINATED: 09/12/2013

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                                                                TERMINATED: 02/27/2014

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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 119 of 302

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                                                                          TERMINATED: 09/12/2013

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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 120 of 302


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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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                                                                                      Jennifer Milici
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                                                                                      TERMINATED: 06/06/2014

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                                                    CAND-ECFFiled 08/05/16 Page 125 of 302

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                                                                                       Jessica Lynn Meyer
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 Plaintiff
 State of Florida                                                         represented by Anne M. Nardacci
 TERMINATED: 12/27/2012                                                                  (See above for address)
                                                                                         TERMINATED: 09/10/2013
                                                                                         LEAD ATTORNEY

                                                                                       Eli Andrew Friedman
                                                                                       (See above for address)
                                                                                       TERMINATED: 04/20/2012
                                                                                       LEAD ATTORNEY

                                                                                       James P. McCarthy
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                                                                                       LEAD ATTORNEY

                                                                                       Patricia A. Conners
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                                                                (See above for address)
                                                                TERMINATED: 09/10/2013
                                                                LEAD ATTORNEY

                                                                                       R. Scott Palmer
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                                                                                       Jennifer Milici
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                                                                                       Jessica Lynn Meyer
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                                                                                       Liz Ann Brady
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                                                                          William A. Isaacson
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                                                                          Anne M. Nardacci
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                                                                          Elliot S. Kaplan
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 129 of 302

 Plaintiff
 Best Buy Enterprise Services, Inc.                                       represented by Bernice Conn
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      David Martinez
                                                                                      (See above for address)
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                                                                                      Elizabeth Diemphuc Le
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                                                                                      Jennifer Milici
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                                                                                      Jill Sharon Casselman
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                                                                                      Laura Elizabeth Nelson
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                                                                                      Lauren Elizabeth Wood
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 130 of 302

                                                                ATTORNEY TO BE NOTICED

                                                                                      Elliot S. Kaplan
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                                                                                      Roman M. Silberfeld
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 Plaintiff
 Best Buy Purchasing LLC                                                  represented by Bernice Conn
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                                                                                      David Martinez
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                                                                                      Jennifer Milici
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                                                                                      Jill Sharon Casselman
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                                                                                      TERMINATED: 05/05/2016

                                                                                      Lauren Elizabeth Wood
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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                                                                (See above for address)
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                                                                                      Samuel J Randall
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                                                                                      William A. Isaacson
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                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Anne M. Nardacci
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                                                                                      Elliot S. Kaplan
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                                                                                      K. Craig Wildfang
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                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Roman M. Silberfeld
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 Plaintiff
 Best Buy Stores, L.P.                                                    represented by Bernice Conn
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
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                                                                                      David Martinez
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                                                                                      LEAD ATTORNEY
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                                                                                      Elizabeth Diemphuc Le
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                                                                                      TERMINATED: 03/01/2013

                                                                                      Jennifer Milici
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                                                                                      Jill Sharon Casselman
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                                                                                      Jordan Samuel Paul
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                                                                                      Kenneth S. Marks
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                                                                                      Laura Elizabeth Nelson
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                                                                                      TERMINATED: 05/05/2016

                                                                                      Lauren Elizabeth Wood
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                                                                                      TERMINATED: 10/31/2012

                                                                                      Philip J Iovieno
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                                                                                      Samuel J Randall
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                                                                                      ATTORNEY TO BE NOTICED

                                                                                      William A. Isaacson
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Anne M. Nardacci
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                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Elliot S. Kaplan
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      K. Craig Wildfang
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Roman M. Silberfeld
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
 Plaintiff
 Best Buy.com LLC                                                         represented by Bernice Conn
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      David Martinez
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Elizabeth Diemphuc Le
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 133 of 302

                                                                TERMINATED: 03/01/2013

                                                                          Jennifer Milici
                                                                          (See above for address)
                                                                          TERMINATED: 06/06/2014

                                                                          Jill Sharon Casselman
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                                                                          ATTORNEY TO BE NOTICED

                                                                          Jordan Samuel Paul
                                                                          (See above for address)
                                                                          TERMINATED: 07/19/2012

                                                                          Kenneth S. Marks
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                                                                          ATTORNEY TO BE NOTICED

                                                                          Laura Elizabeth Nelson
                                                                          (See above for address)
                                                                          TERMINATED: 05/05/2016

                                                                          Lauren Elizabeth Wood
                                                                          (See above for address)
                                                                          TERMINATED: 10/31/2012

                                                                          Philip J Iovieno
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                                                                          Samuel J Randall
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                                                                          William A. Isaacson
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                                                                          ATTORNEY TO BE NOTICED

                                                                          Anne M. Nardacci
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                                                                          Elliot S. Kaplan
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                                                                          K. Craig Wildfang
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                                                                          Roman M. Silberfeld
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 134 of 302

 Plaintiff
 Magnolia Hi-Fi, Inc.                                                     represented by David Martinez
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                                                                                      (See above for address)
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                                                                                      Lauren Elizabeth Wood
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 135 of 302

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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 137 of 302

                                                                ATTORNEY TO BE NOTICED

                                                                                      Samuel J Randall
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                                                                                      ATTORNEY TO BE NOTICED

                                                                                      William A. Isaacson
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
 Plaintiff
 Old Comp Inc.                                                            represented by Jason C. Murray
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                                                                                      William A. Isaacson
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED


 Plaintiff
 Radioshack Corp.                                                         represented by Jason C. Murray
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Daniel Allen Sasse
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 138 of 302

                                                                Deborah Ellen Arbabi
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                                                                ATTORNEY TO BE NOTICED

                                                                                      Philip J Iovieno
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                                                                                      ATTORNEY TO BE NOTICED

                                                                                      William A. Isaacson
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
 Plaintiff
 Sears, Roebuck and Co.                                                   represented by Jason C. Murray
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      William J. Blechman
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                                                                                      Gavin David Whitis
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                                                                                      Jalaine Garcia
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                                                                                      William A. Isaacson
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                                                                                      Kevin J. Murray
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 Plaintiff
 Giovanni Constabile                                                      represented by Lingel Hart Winters
 On behalf of themselves and all others                                                  (See above for address)
 similarly situated                                                                      LEAD ATTORNEY
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 Plaintiff
 Gio's Inc                                                                represented by Lingel Hart Winters
 a California corporation                                                                (See above for address)
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 Plaintiff
 Schultze Agency Services, LLC                                            represented by William A. Isaacson
 on behalf of Tweeter Opco, LLC and                                                      (See above for address)
 Tweeter Newco, LLC                                                                      LEAD ATTORNEY
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 Plaintiff
 ABC Appliance, Inc.                                                      represented by Christopher V. Fenlon
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 142 of 302

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                                                                                        William A. Isaacson
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 Plaintiff
 Marta Cooperative of America, Inc.                                       represented by Christopher V. Fenlon
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 Plaintiff
 P.C. Richard & Son Long Island                                           represented by Christopher V. Fenlon
 Corporation                                                                             (See above for address)
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 Patricia Andrews
 Plaintiff
 Conrad Carty
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                                                    CAND-ECFFiled 08/05/16 Page 144 of 302

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                                                                                      Anne M. Nardacci
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                                                    CAND-ECFFiled 08/05/16 Page 146 of 302


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                                                    CAND-ECFFiled 08/05/16 Page 147 of 302

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 Sharp Electronics Manufacturing                                          represented by Cheryl Ann Galvin
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 150 of 302

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                                                                                      Matthew David Kent
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                                                                                      Melissa Mahurin Whitehead
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                                                                                      Michael John Newton
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 Plaintiff
 Magnolia Hi-Fi, LLC                                                      represented by David Martinez
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                                                                                         LEAD ATTORNEY
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                                                                                      Jill Sharon Casselman
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8/5/2016    Case 4:07-cv-05944-JST Document 4747-4
                                             CAND-ECFFiled 08/05/16 Page 151 of 302

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 Plaintiff
 Christopher Donnelly

 Plaintiff
 Christopher Wirth
 Plaintiff
 Jimmy Jahar Thule
 Plaintiff
 Edward Breivik
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 Plaintiff
 Ramzi Yusef
 Plaintiff
 Richard Reid
 Plaintiff
 JEFF CRAIG                                                               represented by JEFF CRAIG
                                                                                         PRO SE
 Plaintiff
 MINA ASHKANNEJHAD                                                        represented by MINA ASHKANNEJHAD
                                                                                         PRO SE

 Plaintiff
 ESTATE OF LATE R. DERYL                                                  represented by ESTATE OF LATE R. DERYL
 EDWARDS JR                                                                              EDWARDS JR
                                                                                         PRO SE

 Plaintiff
 INDIRECT PURCHASER PLAINTIFF                                             represented by INDIRECT PURCHASER PLAINTIFF
 CLASS                                                                                   CLASS
                                                                                         PRO SE


 V.
 Creditor
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 154 of 302

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                                                                                        Rachel S. Brass
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 Defendant
 Chunghwa Picture Tubes (Malaysia) Sdn.                                   represented by Joel Steven Sanders
 Bhd.                                                                                    (See above for address)
 ("Chunghwa Malaysia") is a Malaysian                                                    LEAD ATTORNEY
 company                                                                                 ATTORNEY TO BE NOTICED

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                                                    CAND-ECFFiled 08/05/16 Page 155 of 302

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                                                    CAND-ECFFiled 08/05/16 Page 157 of 302

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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 158 of 302

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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 159 of 302

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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 163 of 302

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 Defendant
 Philips Electronics North America                                        represented by Gregory Hull
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 corporation                                                                             LEAD ATTORNEY
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 Defendant
 Samsung SDI Co., Ltd.                                                    represented by Tyler Mark Cunningham
 formerly know as Samsung Display Device                                                 Sheppard Mullin Richter & Hampton
 Co.                                                                                     TERMINATED: 05/12/2016
 TERMINATED: 07/20/2015                                                                  LEAD ATTORNEY

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                                                                                        Douglas L Wald
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                                                                                        Gary L. Halling
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 182 of 302

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                                                    CAND-ECFFiled 08/05/16 Page 183 of 302

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 Defendant
 Samsung SDI America, Inc.                                                represented by Tyler Mark Cunningham
 ("Samsung America") is a California                                                     (See above for address)
 corporation                                                                             TERMINATED: 05/12/2016
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                                                                                       Gary L. Halling
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                                                                                       TERMINATED: 01/13/2012

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                                                    CAND-ECFFiled 08/05/16 Page 184 of 302

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 Defendant
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                                                    CAND-ECFFiled 08/05/16 Page 185 of 302


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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 186 of 302


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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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                                                                Charise Naifeh
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                                                                                        Matthew Frutig
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 Beijing-Matsushita Color CRT Company,                                    represented by Terry Calvani
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 Ltd.                                                                                    (See above for address)
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 Defendant
 LP Displays International, Ltd.                                          represented by Jeremy James Calsyn
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                                                                                      Douglas L Wald
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                                                                                      Hojoon Hwang
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                                                                (See above for address)
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                                                                ATTORNEY TO BE NOTICED

                                                                          Jeffrey L. Kessler
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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                                                                                        John David Lombardo
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 LG Philips Display USA, Inc.             represented by Hojoon Hwang
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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                                                    CAND-ECFFiled 08/05/16 Page 197 of 302


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 Defendant
 Samsung Electronics Co Ltd                                               represented by Ian T Simmons
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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                                                                          ATTORNEY TO BE NOTICED

                                                                          Michael W. Scarborough
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Anton Metlitsky
                                                                          ATTORNEY TO BE NOTICED

                                                                          David Roberts
                                                                          O'Melveny & Myers LLP
                                                                          ATTORNEY TO BE NOTICED

                                                                          Haidee L. Schwartz ,
                                                                          O'Melveny & Myers LLP
                                                                          1625 I Street, N.W.
                                                                          Washington, DC 20006
                                                                          202-383-5300
                                                                          Fax: 202-383-5414
                                                                          Email: hschwartz@omm.com
                                                                          ATTORNEY TO BE NOTICED

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 Defendant
 Samsung Electronics America, Inc.                                        represented by Ian T Simmons
 ("SEAI") is a New York corporation                                                      (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Michael Frederick Tubach
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Benjamin Gardner Bradshaw
                                                                                      O'Melveny & Meyers LLP
                                                                                      1625 Eye Street, N.W.
                                                                                      Washington, DC 20006-4001
                                                                                      202-383-5163
                                                                                      Fax: 202-383-5414
                                                                                      Email: bbradshaw@omm.com
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Courtney C Byrd
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Jeffrey L. Kessler
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Kent Michael Roger
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Kevin Douglas Feder
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Michael W. Scarborough
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Anton Metlitsky
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      David Roberts
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Haidee L. Schwartz ,
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      James Landon McGinnis
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            200/813
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                                                    CAND-ECFFiled 08/05/16 Page 201 of 302

                                                                Sheppard Mullin Richter & Hampton LLP
                                                                ATTORNEY TO BE NOTICED

 Defendant
 Toshiba America Electronics                                              represented by Bernadette Shawan Gillians
 Components, Inc                                                                         Buist Moore Smythe and McGee
 ("TAEP") is headquartered in Irvine,                                                    P.O. Box 999
 California                                                                              Charleston, SC 29402
 TERMINATED: 07/05/2016                                                                  843 720-4621
                                                                                         Email: sgillians@buistmoore.com
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                        Christopher M. Curran
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        George L. Paul
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Lucius Bernard Lau
                                                                                        (See above for address)
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        William C. Cleveland
                                                                                        Buist Moore Smythe and McGee
                                                                                        P.O. Box 999
                                                                                        Charleston, SC 29402
                                                                                        843 722-3400
                                                                                        Fax: 843 723-7398
                                                                                        Email: wcleveland@buistmoore.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Adam C. Hemlock
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Aya Kobori
                                                                                        (See above for address)
                                                                                        PRO HAC VICE
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Bijal Vijay Vakil
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Douglas L Wald
                                                                                        (See above for address)
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https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                    201/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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                                                                          Ian T Simmons
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jeffrey L. Kessler
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          John Clayton Everett , Jr.
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          John M. Taladay
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jon Vensel Swenson
                                                                          (See above for address)
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                                                                          Kent Michael Roger
                                                                          (See above for address)
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                                                                          Michael W. Scarborough
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                                                                          ATTORNEY TO BE NOTICED

                                                                          Michelle Park Chiu
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Samuel J. Sharp
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Samuel James Sharp
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Scott A. Stempel
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Sharon D. Mayo
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Steven Alan Reiss
                                                                          (See above for address)
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1   ATTORNEY TO BE NOTICED       202/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 203 of 302

                                                                ATTORNEY TO BE NOTICED

                                                                                       William H. Bave , III
                                                                                       (See above for address)
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Charise Naifeh
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Dana E. Foster
                                                                                       White and Case LLP
                                                                                       701 Thirteenth Street, N.W.
                                                                                       Washington, D.C., DC 20005
                                                                                       202-626-3600
                                                                                       Fax:
                                                                                       Email: defoster@whitecase.com
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Matthew Frutig
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

 Defendant
 Toshiba America Information Systems,                                     represented by Bernadette Shawan Gillians
 Inc.                                                                                    (See above for address)
 ("TAIP") is headquartered in Irvine,                                                    LEAD ATTORNEY
 California                                                                              ATTORNEY TO BE NOTICED
 TERMINATED: 07/05/2016
                                                                                       Christopher M. Curran
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       George L. Paul
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Lucius Bernard Lau
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
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                                                                                       William C. Cleveland
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
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                                                                                       Adam C. Hemlock
                                                                                       (See above for address)
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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                                                                          Aya Kobori
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Bijal Vijay Vakil
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Ian T Simmons
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jeffrey L. Kessler
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jeremy Kent Ostrander
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kent Michael Roger
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Michael E. Hamburger
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Samuel J. Sharp
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Samuel James Sharp
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Tsung-Hui (Danny) Wu
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          William H. Bave , III
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Charise Naifeh
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Dana E. Foster
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                             204/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 205 of 302

                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

                                                                                      Matthew Frutig
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
 Defendant
 MT Picture Display Company
 TERMINATED: 03/30/2009
 Defendant
 MT Picture Display Corporation of
 America (Ohio)
 TERMINATED: 03/30/2009
 Defendant
 LP Displays
 formerly known as LG Philips Displays
 TERMINATED: 03/30/2009
 Defendant
 Toshiba America, Inc                                                     represented by Christopher M. Curran
 ("Toshiba America") is a Delaware                                                       (See above for address)
 corporation                                                                             LEAD ATTORNEY
 TERMINATED: 07/05/2016                                                                  ATTORNEY TO BE NOTICED

                                                                                      George L. Paul
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Lucius Bernard Lau
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Adam C. Hemlock
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Aya Kobori
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Bijal Vijay Vakil
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Jeffrey L. Kessler
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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                                                                                       Jeremy Kent Ostrander
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Michael E. Hamburger
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Samuel J. Sharp
                                                                                       (See above for address)
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Samuel James Sharp
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Tsung-Hui (Danny) Wu
                                                                                       (See above for address)
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       William H. Bave , III
                                                                                       (See above for address)
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Charise Naifeh
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Dana E. Foster
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
 Defendant
 MT Picture Display Co., LTD                                              represented by Lucia Freda
 fka Matsushita Toshiba Picture Display Co.,                                             (See above for address)
 Ltd. ("MTPD") is a Japanese entity                                                      TERMINATED: 06/06/2013
                                                                                         LEAD ATTORNEY

                                                                                       A. Paul Victor
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Aldo A. Badini
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Bambo Obaro
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            206/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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                                                                Christopher M. Curran
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

                                                                          Craig Y. Allison
                                                                          (See above for address)
                                                                          TERMINATED: 10/07/2015

                                                                          David E. Yolkut
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Diana Arlen Aguilar
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Douglas L Wald
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Eva W. Cole
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Gregory Hull
                                                                          (See above for address)

                                                                          Gregory Hull
                                                                          (See above for address)
                                                                          TERMINATED: 12/18/2013

                                                                          James F. Lerner
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jeffrey L. Kessler
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jennifer Stewart
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          John Clayton Everett , Jr.
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          John M. Taladay
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                207/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 208 of 302


                                                                          Jon Vensel Swenson
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kajetan Rozga
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kent Michael Roger
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kris Hue Chau Man
                                                                          (See above for address)
                                                                          TERMINATED: 12/12/2011

                                                                          Lara Elvidge Veblen
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Margaret Anne Keane
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Martin C. Geagan , Jr.
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Matthew Robert DalSanto
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Meaghan Parﬁtt Thomas-Kennedy
                                                                          (See above for address)
                                                                          TERMINATED: 11/24/2015
                                                                          ATTORNEY TO BE NOTICED

                                                                          Michelle Park Chiu
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Molly Donovan
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Peter Edward Root
                                                                          (See above for address)
                                                                          TERMINATED: 09/02/2010

                                                                          Scott A. Stempel
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                   208/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 209 of 302

                                                                (See above for address)
                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED

                                                                                      Sharon D. Mayo
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Soﬁa Arguello ,
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Steven A. Reiss
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Steven Alan Reiss
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Adam C. Hemlock
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      David L. Yohai
                                                                                      Weil, Gotshal, & Manges, LLP`
                                                                                      ATTORNEY TO BE NOTICED
 Defendant
 Royal Philips Electronics N.V.
 TERMINATED: 03/30/2009
 Defendant
 MT Picture Display Corporation of                                        represented by Gregory Hull
 America (New York)                                                                      (See above for address)
 TERMINATED: 03/30/2009                                                                  ATTORNEY TO BE NOTICED

                                                                                      Jeffrey L. Kessler
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Kris Hue Chau Man
                                                                                      (See above for address)
                                                                                      TERMINATED: 12/12/2011

                                                                                      Steven A. Reiss
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
 Defendant
 Samsung SDI Co.                                                          represented by Michael W. Scarborough
 TERMINATED: 03/30/2009                                                                  (See above for address)
                                                                                         ATTORNEY TO BE NOTICED
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                               209/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 210 of 302


 Defendant
 Victor Company of Japan, LTD
 Defendant
 TCL International Holdings LTD. (TCL)
 Defendant
 Thomson S.A.                                                             represented by Calvin Lee Litsey
 TERMINATED: 03/30/2009                                                                  Faegre Baker Daniels LLP
                                                                                         1950 University Circle
                                                                                         Suite 450
                                                                                         East Palo Alto, CA 93403
                                                                                         650-324-6708
                                                                                         Email: calvin.litsey@faegrebd.com
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                        Jason de Bretteville
                                                                                        Stradling Yocca Carlson & Rauth
                                                                                        660 Newport Center Drive
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                                                                                        Newport Beach, CA 92660
                                                                                        949-725-4094
                                                                                        Fax: 949-823-5094
                                                                                        Email: jdebretteville@sycr.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Robert Andrew Sacks
                                                                                        Sullivan & Cromwell LLP
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                                                                                        Los Angeles, CA 90067
                                                                                        310-712-6600
                                                                                        Fax: 310-712-8800
                                                                                        Email: sacksr@sullcrom.com
                                                                                        TERMINATED: 07/24/2013
                                                                                        LEAD ATTORNEY

                                                                                        Brendan P. Cullen
                                                                                        Sullivan & Cromwell LLP
                                                                                        1870 Embarcadero Road
                                                                                        Palo Alto, CA 94303
                                                                                        650-461-5600
                                                                                        Fax: 650-461-5700
                                                                                        Email: cullenb@sullcrom.com
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Jeffrey Scott Roberts
                                                                                        Faegre Baker Daniels
                                                                                        1700 Lincoln Street
                                                                                        Suite 3200
                                                                                        Denver, CO 80203
                                                                                        303-607-3500
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                      210/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 211 of 302

                                                                Email: jeff.roberts@faegrebd.com
                                                                ATTORNEY TO BE NOTICED

                                                                                       Kathy L. Osborn
                                                                                       Faegre Baker Daniels LLP
                                                                                       300 N. Meridian Street, Suite 2700
                                                                                       Indianapolis, IN 46204
                                                                                       317-237-0300
                                                                                       Fax: 317-237-1000
                                                                                       Email: kathy.osborn@FaegreBD.com
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Laura Kabler Oswell
                                                                                       Sullivan & Cromwell LLP
                                                                                       1870 Embarcadero Road
                                                                                       Palo Alto, CA 94303
                                                                                       650-461-5600
                                                                                       Fax: 650-461-5700
                                                                                       Email: oswelll@sullcrom.com
                                                                                       TERMINATED: 07/24/2013

 Defendant
 TCL Thomson Electronics Corporation
 TERMINATED: 03/30/2009

 Defendant
 Samsung Electronics Co.
 TERMINATED: 03/30/2009
 Defendant
 Samsung SDI Co. Ltd                                                      represented by Tyler Mark Cunningham
 fka Samsung Display Device Company                                                      (See above for address)
 ("Samsung SDI") is a South Korean                                                       TERMINATED: 05/12/2016
 company                                                                                 LEAD ATTORNEY
 TERMINATED: 07/20/2015
 formerly known as                                                                     Adam C. Hemlock
 Samsung Display Device Co.                                                            (See above for address)
 TERMINATED: 07/20/2015                                                                ATTORNEY TO BE NOTICED

                                                                                       Bruce Cobath
                                                                                       (See above for address)
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Christopher M. Curran
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Douglas L Wald
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Gary L. Halling

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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 212 of 302

                                                                (See above for address)
                                                                TERMINATED: 01/13/2012

                                                                          Ian T Simmons
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jeffrey L. Kessler
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          John Clayton Everett , Jr.
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          John M. Taladay
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jon Vensel Swenson
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kent Michael Roger
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Michael W. Scarborough
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Michelle Park Chiu
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Scott A. Stempel
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Sharon D. Mayo
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Steven Alan Reiss
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          James Landon McGinnis
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED
 Defendant

https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                212/813
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 Toshiba Matsushita Display Technology
 Co, LTD
 TERMINATED: 03/30/2009
 Defendant
 LP Displays
 TERMINATED: 03/30/2009
 Defendant
 Samsung SDI Co., Ltd.                                                    represented by Tyler Mark Cunningham
 TERMINATED: 07/20/2015                                                                  (See above for address)
                                                                                         TERMINATED: 05/12/2016
                                                                                         LEAD ATTORNEY

                                                                                       Bruce Cobath
                                                                                       (See above for address)
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Christopher M. Curran
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Douglas L Wald
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Dylan Ian Ballard
                                                                                       Four Embarcadero Center, 17th Floor
                                                                                       San Francisco, CA 94111
                                                                                       (415) 434-9100
                                                                                       Fax: (415) 434-3947
                                                                                       Email: dballard@sheppardmullin.com
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Gary L. Halling
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Helen Cho Eckert
                                                                                       Sheppard Mullin Richter & Hampton LLP
                                                                                       333 South Hope Street
                                                                                       43rd Floor
                                                                                       Los Angeles, CA 90071-1448
                                                                                       213-620-1780
                                                                                       Fax: 213-620-1398
                                                                                       Email: heckert@sheppardmullin.com
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Jeffrey L. Kessler
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       John Clayton Everett , Jr.
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                      213/813
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                                                                (See above for address)
                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED

                                                                          John M. Taladay
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jon Vensel Swenson
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kent Michael Roger
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Leo David Caseria
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Michael W. Scarborough
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Michelle Park Chiu
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Mona Solouki
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Scott A. Stempel
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Sharon D. Mayo
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Steven Alan Reiss
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          James Landon McGinnis
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED


 Defendant
 MT Picture Display Corp. of America
 TERMINATED: 03/30/2009

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 Defendant
 Toshiba America Consumer Products,                                       represented by Christopher M. Curran
 LLC                                                                                     (See above for address)
 ("TACP") is a limited liability company, is                                             LEAD ATTORNEY
 headquartered in Wayne, New Jersey                                                      ATTORNEY TO BE NOTICED
 TERMINATED: 07/05/2016
                                                                                      George L. Paul
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Lucius Bernard Lau
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Adam C. Hemlock
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Aya Kobori
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Bijal Vijay Vakil
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Gary L. Halling
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Ian T Simmons
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Jeffrey L. Kessler
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Jeremy Kent Ostrander
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Kent Michael Roger
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Michael E. Hamburger
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Michael W. Scarborough
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            215/813
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                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

                                                                                        Samuel J. Sharp
                                                                                        (See above for address)
                                                                                        PRO HAC VICE
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Samuel James Sharp
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Tsung-Hui (Danny) Wu
                                                                                        (See above for address)
                                                                                        PRO HAC VICE
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        William H. Bave , III
                                                                                        (See above for address)
                                                                                        PRO HAC VICE
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Charise Naifeh
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Dana E. Foster
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Matthew Frutig
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

 Defendant
 TVP Technology Ltd., Co
 TERMINATED: 03/30/2009
 Defendant

 TVP International (USA), Inc                                             represented by Curt Holbreich
 TERMINATED: 03/30/2009                                                                  Sidley Austin LLP
                                                                                         555 California Street
                                                                                         Suite 2000
                                                                                         San Francisco, CA 94104
                                                                                         415-772-1200
                                                                                         Fax: 415-772-7400
                                                                                         Email: cholbreich@sidley.com
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                        Mark D. Marino
                                                                                        Kirkpatrick & Lockhart Preston Gates Ellis

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                                                                One Newark Center, 10th Floor
                                                                Newark, NJ 07102
                                                                973 848-4000
                                                                Email: mark.marino@klgates.com
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
 Defendant
 New York Direct Purchaser
 TERMINATED: 03/30/2009
 Defendant
 LP Displays International Ltd.
 ("LP Displays") is a Hong Kong company
 formerly known as
 LG. Philips Displays
 Defendant
 Koninklijke Philips N.V.                                                 represented by Andreas Stargard
 aka Royal Philips Electronics N.V. ("Royal                                              Baker Botts LLP
 Philip") is a Dutch company                                                             1299 Pennsylvania Avenue, N.W.
 TERMINATED: 03/30/2009                                                                  Washington, DC 20004
 also known as                                                                           202-639-7712
 Royal Philips Electronics N.V.                                                          Email: andreas.stargard@bakerbotts.com
 TERMINATED: 03/30/2009                                                                  TERMINATED: 05/02/2012
                                                                                         LEAD ATTORNEY
                                                                                         PRO HAC VICE

                                                                                        Charles M Malaise
                                                                                        (See above for address)
                                                                                        TERMINATED: 08/14/2015

                                                                                        Christopher M. Curran
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Douglas L Wald
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Emily L. Maxwell , Esq.
                                                                                        (See above for address)
                                                                                        TERMINATED: 02/11/2011

                                                                                        Erik T. Koons
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Ethan E. Litwin
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Gregg Aaron Myers
                                                                                        (See above for address)
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                       217/813
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                                                                TERMINATED: 01/04/2011

                                                                                      Jeffrey L. Kessler
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      John Clayton Everett , Jr.
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Jon Vensel Swenson
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Joseph Song
                                                                                      (See above for address)
                                                                                      TERMINATED: 04/14/2011

                                                                                      Kent Michael Roger
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Michelle Park Chiu
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Scott A. Stempel
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Sharon D. Mayo
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Steven Alan Reiss
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      John M. Taladay
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Richard A. Ripley ,
                                                                                      (See above for address)
                                                                                      TERMINATED: 04/14/2011
                                                                                      ATTORNEY TO BE NOTICED


 Defendant
 Matsushita Toshiba Picture Display Co.,                                  represented by Jeffrey L. Kessler
 Ltd.                                                                                    (See above for address)
 TERMINATED: 03/30/2009                                                                  ATTORNEY TO BE NOTICED
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            218/813
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 also known as
 MT Picture Display Co., Ltd.
 TERMINATED: 03/30/2009
 Defendant
 MT Picture Display                                                       represented by Adam C. Hemlock
 TERMINATED: 03/30/2009                                                                  (See above for address)
                                                                                         ATTORNEY TO BE NOTICED
 Defendant
 Panasonic Corporation of America
 TERMINATED: 03/30/2009

 Defendant
 Thomas S.A.                                                              represented by Calvin Lee Litsey
 TERMINATED: 03/30/2009                                                                  (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Jason de Bretteville
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
 Defendant
 Panasonic Corporation                                                    represented by David L. Yohai
 fka Matsushita Electric Industrial Co., Ltd.                                            (See above for address)
 ("MEI"), is a Japanese entity                                                           LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Gregory Hull
                                                                                      (See above for address)
                                                                                      TERMINATED: 12/18/2013
                                                                                      LEAD ATTORNEY

                                                                                      Lucia Freda
                                                                                      (See above for address)
                                                                                      TERMINATED: 06/06/2013
                                                                                      LEAD ATTORNEY

                                                                                      A. Paul Victor
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Aldo A. Badini
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Amy Lee Stewart
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Bambo Obaro

https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            219/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 220 of 302

                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

                                                                          Christopher M. Curran
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Craig Y. Allison
                                                                          (See above for address)
                                                                          TERMINATED: 10/07/2015

                                                                          David E. Yolkut
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Diana Arlen Aguilar
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Douglas L Wald
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Eva W. Cole
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Gregory Hull
                                                                          (See above for address)
                                                                          TERMINATED: 12/18/2013

                                                                          James F. Lerner
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jeffrey L. Kessler
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jennifer Stewart
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          John Clayton Everett , Jr.
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          John M. Taladay
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                220/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 221 of 302


                                                                          John Selim Tschirgi
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jon Vensel Swenson
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kajetan Rozga
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kent Michael Roger
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kevin B. Goldstein
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kris Hue Chau Man
                                                                          Dewey & LeBoeuf LLP
                                                                          One Embarcadero Center
                                                                          Suite 400
                                                                          San Francisco, CA 94111
                                                                          415-951-1100
                                                                          Fax: 415 951-1180
                                                                          Email: kman@dl.com
                                                                          TERMINATED: 12/12/2011

                                                                          Lara Elvidge Veblen
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Margaret Anne Keane
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Marjan Hajibandeh
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Martin C. Geagan , Jr.
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Meaghan Parﬁtt Thomas-Kennedy
                                                                          (See above for address)
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                   221/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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                                                                TERMINATED: 11/24/2015
                                                                ATTORNEY TO BE NOTICED

                                                                          Michelle Park Chiu
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Molly Donovan
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Molly M Donovan
                                                                          Winston & Strawn LLP
                                                                          200 Park Avenue
                                                                          New York, NY 10166
                                                                          212 2944692
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Peter Edward Root
                                                                          (See above for address)
                                                                          TERMINATED: 09/02/2010

                                                                          Ryan Michael Goodland
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Scott A. Stempel
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Sharon D. Mayo
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Soﬁa Arguello ,
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Steven A. Reiss
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Steven Alan Reiss
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Adam C. Hemlock
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                             222/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 223 of 302


 Defendant
 Daewoo International Corporation                                         represented by Jane E. Willis
 ("Daewoo International") is a corporation                                               Ropes & Gray LLP
 organized under the laws of Korea                                                       800 Boylston Street
 TERMINATED: 07/31/2009                                                                  Boston, MA 02199-3600
                                                                                         (617) 951-7000
                                                                                         Fax: (617) 951-7050
                                                                                         Email: Jane.Willis@ropesgray.com
                                                                                         TERMINATED: 07/31/2009
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Thad Alan Davis
                                                                                         Gibson, Dunn & Crutcher LLP
                                                                                         555 Mission St.
                                                                                         Ste. 3000
                                                                                         San Francisco, CA 94105
                                                                                         415-393-8251
                                                                                         Email: TADavis@gibsondunn.com
                                                                                         TERMINATED: 07/31/2009
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

 Defendant
 Daewoo Electronics Corporation                                           represented by Jeffrey Jay Lederman
 fka Daewoo Electronics Company, Ltd.                                                    Winston & Strawn LLP
 ("Daewoo Electronics") is a corporation                                                 101 California Street, Suite 3900
 organized under the laws of South Korea                                                 San Francisco, CA 94111
 TERMINATED: 07/28/2009                                                                  415/591-1517
 formerly known as                                                                       Fax: 415/591-1400
 Daewoo Electronics Company Ltd.                                                         Email: jlederman@winston.com
 TERMINATED: 07/28/2009                                                                  ATTORNEY TO BE NOTICED

 Defendant
 Hitachi Displays, Ltd.                                                   represented by Diane Leslie Webb
 ("Hitachi Displays") is a Japanese company                                              (See above for address)
 also known as                                                                           TERMINATED: 11/01/2013
 Japan Display Inc                                                                       LEAD ATTORNEY

                                                                                         Eliot A. Adelson
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         John Clayton Everett , Jr.
                                                                                         (See above for address)
                                                                                         TERMINATED: 11/01/2013
                                                                                         LEAD ATTORNEY
                                                                                         PRO HAC VICE

                                                                                         Scott A. Stempel
                                                                                         (See above for address)

https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                      223/813
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                                                    CAND-ECFFiled 08/05/16 Page 224 of 302

                                                                TERMINATED: 11/01/2013
                                                                LEAD ATTORNEY
                                                                PRO HAC VICE

                                                                          Christopher M. Curran
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Douglas L Wald
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Ian T Simmons
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          James Maxwell Cooper
                                                                          (See above for address)
                                                                          TERMINATED: 04/03/2015

                                                                          James Mutchnik
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jason Bruce Allen
                                                                          (See above for address)
                                                                          TERMINATED: 12/07/2011

                                                                          Jeffrey L. Kessler
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          John M. Taladay
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jon Vensel Swenson
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Katherine Hamilton Wheaton
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kent Michael Roger
                                                                          (See above for address)
                                                                          TERMINATED: 11/01/2013

                                                                          Michelle Park Chiu
                                                                          (See above for address)
                                                                          TERMINATED: 11/01/2013

https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                224/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 225 of 302

                                                                Sharon D. Mayo
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

                                                                                      Steven Alan Reiss
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Thomas R. Green
                                                                                      (See above for address)
                                                                                      TERMINATED: 11/01/2013
 Defendant
 Hitachi Electronic Devices (USA)                                         represented by Eliot A. Adelson
 ("HEDUS") is a Delaware corporation                                                     (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      John Clayton Everett , Jr.
                                                                                      (See above for address)
                                                                                      TERMINATED: 11/01/2013
                                                                                      LEAD ATTORNEY
                                                                                      PRO HAC VICE

                                                                                      Scott A. Stempel
                                                                                      (See above for address)
                                                                                      TERMINATED: 11/01/2013
                                                                                      LEAD ATTORNEY
                                                                                      PRO HAC VICE

                                                                                      Diane Leslie Webb
                                                                                      (See above for address)
                                                                                      TERMINATED: 11/01/2013

                                                                                      James Maxwell Cooper
                                                                                      (See above for address)
                                                                                      TERMINATED: 04/03/2015

                                                                                      James Mutchnik
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Jason Bruce Allen
                                                                                      Shearman & Sterling LLP
                                                                                      Four Embarcadero Center
                                                                                      Suite 3800
                                                                                      San Francisco, CA 94111
                                                                                      415-616-1249
                                                                                      Fax: 415-616-1449
                                                                                      Email: jason.allen@shearman.com
                                                                                      TERMINATED: 12/07/2011

                                                                                      Jeffrey L. Kessler
                                                                                      (See above for address)
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1               ATTORNEY TO BE NOTICED            225/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 226 of 302

                                                                ATTORNEY TO BE NOTICED

                                                                                       Katherine Hamilton Wheaton
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Kent Michael Roger
                                                                                       (See above for address)
                                                                                       TERMINATED: 11/01/2013
 Defendant
 Shenzhen SEG Color Display Devices,
 Ltd
 ("Hitachi Shenzhen") is a Chinese company
 Defendant
 Irico Group Electronics Co., Ltd.
 ("IGE") is a Chinese entity

 Defendant
 LG Electronics Taiwan Taipei Co., Ltd.                                   represented by Beth Harrison Parker
 ("LGETT") is a Taiwanese entity                                                         (See above for address)
 TERMINATED: 10/15/2013                                                                  TERMINATED: 11/16/2012
                                                                                         LEAD ATTORNEY

                                                                                       D. Eric Shapland
                                                                                       (See above for address)
                                                                                       TERMINATED: 11/16/2012
                                                                                       LEAD ATTORNEY

                                                                                       Eric Daniel Mason
                                                                                       Arnold and Porter
                                                                                       777 S Figueroa St
                                                                                       44th Fl
                                                                                       Los Angeles, CA 90017
                                                                                       213-243-4000
                                                                                       TERMINATED: 11/16/2012
                                                                                       LEAD ATTORNEY

                                                                                       Hojoon Hwang
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       John David Lombardo
                                                                                       (See above for address)
                                                                                       TERMINATED: 11/16/2012
                                                                                       LEAD ATTORNEY

                                                                                       Miriam Kim
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                             226/813
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                                                                Ronald Charles Redcay
                                                                (See above for address)
                                                                TERMINATED: 11/16/2012
                                                                LEAD ATTORNEY

                                                                          Ryan M. Sandrock
                                                                          Sidley Austin, LLP
                                                                          TERMINATED: 04/04/2012
                                                                          LEAD ATTORNEY

                                                                          Cathleen Hamel Hartge
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Esteban Martin Estrada
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jeffrey L. Kessler
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jerome Cary Roth
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jessica Barclay-Strobel
                                                                          (See above for address)
                                                                          TERMINATED: 06/21/2016

                                                                          Marie L. Fiala
                                                                          (See above for address)
                                                                          TERMINATED: 04/04/2012

                                                                          Michael W. Scarborough
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Nana Little
                                                                          Arnold Porter
                                                                          777 S. Figueroa St
                                                                          44th Floor
                                                                          Los Angeles, CA 90017
                                                                          213-243-4097
                                                                          Fax: 213-243-4199
                                                                          Email: Nana.Little@aporter.com
                                                                          TERMINATED: 06/14/2011

                                                                          Robert E. Freitas
                                                                          (See above for address)
                                                                          TERMINATED: 07/24/2015

                                                                          Robert Brooks Martin , III
                                                                          (See above for address)
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                    227/813
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                                                    CAND-ECFFiled 08/05/16 Page 228 of 302

                                                                TERMINATED: 04/04/2012

                                                                                      Samuel R. Miller
                                                                                      (See above for address)
                                                                                      TERMINATED: 04/04/2012

                                                                                      Sharon D. Mayo
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Bethany Woodard Kristovich ,
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Jonathan Ellis Altman
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Laura K Lin
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      William David Temko
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

 Defendant
 Matsushita Electronic Corporation
 (Malaysia) Sdn Bhd.
 ("Matsushita Malaysia") is a Malaysian
 entity
 TERMINATED: 05/18/2009
 Defendant
 Panasonic Consumer Electronics Co.
 ("PACEC") is a Delaware corporation
 TERMINATED: 05/18/2009
 Defendant
 Philips Electronics Industries Ltd.
 ("PEIL") is a Taiwanese corporation
 TERMINATED: 05/18/2009
 Defendant
 Philips Consumer Electronics Co.
 ("PCEC") a company with its principal
 place of business in Atlanta, Georgia
 TERMINATED: 05/18/2009
 Defendant
 Philips Electronics Industries (Taiwan),                                 represented by Ethan E. Litwin
 Ltd.                                                                                    (See above for address)
 ("Philips Taiwan") is a Taiwanese company                                               ATTORNEY TO BE NOTICED
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                              228/813
8/5/2016  Case 4:07-cv-05944-JST Document 4747-4
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 TERMINATED: 03/30/2009
                                                       Jeffrey L. Kessler
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                                                       Jon Vensel Swenson
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
 Defendant
 Philips da Amazonia Industria                                            represented by David Michael Lisi
 Electronica Ltda.                                                                       (See above for address)
 ("Philips Brazil") is a Brazilian company                                               TERMINATED: 11/16/2015

                                                                                       Ethan E. Litwin
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Jeffrey L. Kessler
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Jon Vensel Swenson
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

 Defendant
 Samsung SDI (Malaysia) Sdn Bhd.                                          represented by Bruce Cobath
 ("Samsung Malaysia") is a Malaysian                                                     (See above for address)
 corporation                                                                             PRO HAC VICE
 TERMINATED: 07/20/2015                                                                  ATTORNEY TO BE NOTICED

                                                                                       Christopher M. Curran
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Douglas L Wald
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Dylan Ian Ballard
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Gary L. Halling
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Helen Cho Eckert
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Ian T Simmons
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            229/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 230 of 302

                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

                                                                          Jeffrey L. Kessler
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          John Clayton Everett , Jr.
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          John M. Taladay
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jon Vensel Swenson
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kent Michael Roger
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Leo David Caseria
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Michael W. Scarborough
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Michelle Park Chiu
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Mona Solouki
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Scott A. Stempel
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Sharon D. Mayo
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Steven Alan Reiss
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Tyler Mark Cunningham
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                230/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 231 of 302

                                                                Sheppard Mullin Richter & Hampton
                                                                4 Embarcadero Ctr., 17th Fl.
                                                                San Francisco, CA 94111-4106
                                                                415-774-3208
                                                                Fax: 415-403-6006
                                                                Email: tcunningham@sheppardmullin.com
                                                                TERMINATED: 05/12/2016

                                                                                       James Landon McGinnis
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
 Defendant
 Samsung SDI Mexico S.A. de C.V.                                          represented by Tyler Mark Cunningham
 ("Samsung SDI Mexico") is a Mexican                                                     (See above for address)
 company                                                                                 TERMINATED: 05/12/2016
 TERMINATED: 07/20/2015                                                                  LEAD ATTORNEY

                                                                                       Adam C. Hemlock
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Bruce Cobath
                                                                                       (See above for address)
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Christopher M. Curran
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Douglas L Wald
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Gary L. Halling
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

                                                                                       Ian T Simmons
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Jeffrey L. Kessler
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       John Clayton Everett , Jr.
                                                                                       (See above for address)
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       John M. Taladay
                                                                                       (See above for address)
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                ATTORNEY TO BE NOTICED       231/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 232 of 302

                                                                ATTORNEY TO BE NOTICED

                                                                                       Jon Vensel Swenson
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Kent Michael Roger
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Michael W. Scarborough
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Michelle Park Chiu
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Mona Solouki
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Scott A. Stempel
                                                                                       (See above for address)
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Sharon D. Mayo
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Steven Alan Reiss
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       James Landon McGinnis
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

 Defendant
 Samsung SDI Brasil Ltda.                                                 represented by Tyler Mark Cunningham
 ("Samsung SDI Brazil") is a Brazilian                                                   (See above for address)
 company                                                                                 TERMINATED: 05/12/2016
 TERMINATED: 07/20/2015                                                                  LEAD ATTORNEY

                                                                                       Bruce Cobath
                                                                                       (See above for address)
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Christopher M. Curran
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            232/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 233 of 302


                                                                          Douglas L Wald
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Dylan Ian Ballard
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Gary L. Halling
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Helen Cho Eckert
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Ian T Simmons
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jeffrey L. Kessler
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          John Clayton Everett , Jr.
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          John M. Taladay
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jon Vensel Swenson
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kent Michael Roger
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Leo David Caseria
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Michael W. Scarborough
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Michelle Park Chiu
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                233/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 234 of 302

                                                                Mona Solouki
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

                                                                                      Scott A. Stempel
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Sharon D. Mayo
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Steven Alan Reiss
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      James Landon McGinnis
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
 Defendant
 Shenzhen Samsung SDI Co. Ltd                                             represented by Adam C. Hemlock
 ("Samsung SDI Shenzhen") is a Chinese                                                   (See above for address)
 company                                                                                 ATTORNEY TO BE NOTICED
 TERMINATED: 07/20/2015
                                                                                      Bruce Cobath
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Christopher M. Curran
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Douglas L Wald
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Dylan Ian Ballard
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Gary L. Halling
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Ian T Simmons
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Jeffrey L. Kessler
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            234/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 235 of 302


                                                                          John Clayton Everett , Jr.
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          John M. Taladay
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jon Vensel Swenson
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kent Michael Roger
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Leo David Caseria
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Michael W. Scarborough
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Michelle Park Chiu
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Mona Solouki
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Scott A. Stempel
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Sharon D. Mayo
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Steven Alan Reiss
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          James Landon McGinnis
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Tyler Mark Cunningham
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                235/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 236 of 302


 Defendant
 Tianjin Samsung SDI Co., Ltd.                                            represented by Bruce Cobath
 ("Samsung SDI Tianjin") is a Chinese                                                    (See above for address)
 company                                                                                 PRO HAC VICE
 TERMINATED: 07/20/2015                                                                  ATTORNEY TO BE NOTICED

                                                                                      Christopher M. Curran
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Douglas L Wald
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Gary L. Halling
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Jeffrey L. Kessler
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      John Clayton Everett , Jr.
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      John M. Taladay
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Jon Vensel Swenson
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Kent Michael Roger
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Michael W. Scarborough
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Michelle Park Chiu
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Mona Solouki
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Scott A. Stempel
                                                                                      (See above for address)
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1               PRO HAC VICE                 236/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 237 of 302

                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED

                                                                                       Sharon D. Mayo
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Steven Alan Reiss
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       James Landon McGinnis
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Tyler Mark Cunningham
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

 Defendant
 Toshiba America Consumer Products,                                       represented by John Mark Gidley
 Inc.                                                                                    (See above for address)
 ("TACPI") is a company that is                                                          ATTORNEY TO BE NOTICED
 headquartered in Lebanon, Tennessee
 TERMINATED: 05/18/2009
 Defendant
 Toshiba Display Devices (Thailand)
 Company, Ltd.
 ("TDDT") is a Thai company
 TERMINATED: 05/18/2009
 Defendant
 Philips Electronics Industries (Taiwan),                                 represented by David Michael Lisi
 Ltd.                                                                                    (See above for address)
 ("Philips Electronics Taiwan") is a                                                     TERMINATED: 11/16/2015
 Taiwanese company
 TERMINATED: 03/30/2009                                                                Jon Vensel Swenson
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
 Defendant
 Samsung SDI America, Inc.                                                represented by Adam C. Hemlock
 ("Samsung SDI America") is a California                                                 (See above for address)
 corporation                                                                             ATTORNEY TO BE NOTICED
 TERMINATED: 03/30/2009
                                                                                       Christopher M. Curran
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Douglas L Wald
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            237/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 238 of 302


                                                                                       Jeffrey L. Kessler
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       John Clayton Everett , Jr.
                                                                                       (See above for address)
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       John M. Taladay
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Jon Vensel Swenson
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Kent Michael Roger
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Michelle Park Chiu
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Scott A. Stempel
                                                                                       (See above for address)
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Sharon D. Mayo
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Steven Alan Reiss
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Michael W. Scarborough
                                                                                       Sheppard Mullin Richter & Hampton LLP
                                                                                       ATTORNEY TO BE NOTICED

 Defendant
 Panasonic Consumer Electronics
 Company
 ("Panasonic Consumer Electronics") is a
 Delaware corporation
 Defendant
 Hitachi Electronic Devices (USA), Inc.                                   represented by Diane Leslie Webb
 ("HEDUS") is a Delaware corporation                                                     (See above for address)
                                                                                         TERMINATED: 11/01/2013
                                                                                         LEAD ATTORNEY
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                   238/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 239 of 302


                                                                          Michelle Park Chiu
                                                                          (See above for address)
                                                                          TERMINATED: 11/01/2013
                                                                          LEAD ATTORNEY

                                                                          Adam C. Hemlock
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Barack Shem Echols
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Christopher M. Curran
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Douglas L Wald
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Eliot A. Adelson
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          James Maxwell Cooper
                                                                          (See above for address)
                                                                          TERMINATED: 04/03/2015

                                                                          James Mutchnik
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jason Bruce Allen
                                                                          (See above for address)
                                                                          TERMINATED: 12/07/2011

                                                                          Jeffrey L. Kessler
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          John Clayton Everett , Jr.
                                                                          (See above for address)
                                                                          TERMINATED: 11/01/2013

                                                                          John M. Taladay
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jon Vensel Swenson
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                239/813
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                                                                                      Katherine Hamilton Wheaton
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Kent Michael Roger
                                                                                      (See above for address)
                                                                                      TERMINATED: 11/01/2013

                                                                                      Scott A. Stempel
                                                                                      (See above for address)
                                                                                      TERMINATED: 11/01/2013

                                                                                      Sharon D. Mayo
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Steven Alan Reiss
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Thomas R. Green
                                                                                      (See above for address)
                                                                                      TERMINATED: 11/01/2013

 Defendant
 Shenzhen SEG Hitachi Color Display
 Devices, Ltd
 ("Hitachi Shenzhen") is a Chinese company
 TERMINATED: 03/30/2009

 Defendant
 Tatung Company
 is a Taiwanese corporation
 Defendant
 Samtel Color Ltd.                                                        represented by William Diaz
                                                                                         (See above for address)
                                                                                         TERMINATED: 03/30/2010
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

 Defendant
 Beijing Matsushita Color Crt Company,                                    represented by Adam C. Hemlock
 LTD.                                                                                    (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Richard Sutton Snyder
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
 Defendant

https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            240/813
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 Hitachi America, Ltd                    represented by Eliot A. Adelson
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                                                      Adam C. Hemlock
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Barack Shem Echols
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Ian T Simmons
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      James Maxwell Cooper
                                                                                      (See above for address)
                                                                                      TERMINATED: 04/03/2015

                                                                                      James Mutchnik
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Jason Bruce Allen
                                                                                      (See above for address)
                                                                                      TERMINATED: 12/07/2011

                                                                                      Katherine Hamilton Wheaton
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Kent Michael Roger
                                                                                      (See above for address)
                                                                                      TERMINATED: 11/01/2013

                                                                                      Matthew J. Hertko
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/19/2014
                                                                                      PRO HAC VICE

 Defendant
 Hitachi Asia, Ltd.                                                       represented by Eliot A. Adelson
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Adam C. Hemlock
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            241/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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                                                                          Christopher M. Curran
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Douglas L Wald
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Ian T Simmons
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          James Maxwell Cooper
                                                                          (See above for address)
                                                                          TERMINATED: 04/03/2015

                                                                          Jason Bruce Allen
                                                                          (See above for address)
                                                                          TERMINATED: 12/07/2011

                                                                          Jeffrey L. Kessler
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          John Clayton Everett , Jr.
                                                                          (See above for address)
                                                                          TERMINATED: 11/01/2013

                                                                          John M. Taladay
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jon Vensel Swenson
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kent Michael Roger
                                                                          (See above for address)
                                                                          TERMINATED: 11/01/2013

                                                                          Michelle Park Chiu
                                                                          (See above for address)
                                                                          TERMINATED: 11/01/2013

                                                                          Scott A. Stempel
                                                                          (See above for address)
                                                                          TERMINATED: 11/01/2013
                                                                          PRO HAC VICE

                                                                          Sharon D. Mayo
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                242/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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                                                                Steven Alan Reiss
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED
 Defendant
 Hitachi Displays, Ltd.                                                   represented by Eliot A. Adelson
 also known as                                                                           (See above for address)
 Japan Display Inc                                                                       LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Adam C. Hemlock
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Barack Shem Echols
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Christopher M. Curran
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Douglas L Wald
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Ian T Simmons
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      James Maxwell Cooper
                                                                                      (See above for address)
                                                                                      TERMINATED: 04/03/2015

                                                                                      James Mutchnik
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Jason Bruce Allen
                                                                                      (See above for address)
                                                                                      TERMINATED: 12/07/2011

                                                                                      Jeffrey L. Kessler
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      John Clayton Everett , Jr.
                                                                                      (See above for address)
                                                                                      TERMINATED: 11/01/2013

                                                                                      John M. Taladay
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            243/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 244 of 302


                                                                                      Jon Vensel Swenson
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Katherine Hamilton Wheaton
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Kent Michael Roger
                                                                                      (See above for address)
                                                                                      TERMINATED: 11/01/2013

                                                                                      Matthew J. Hertko
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/19/2014
                                                                                      PRO HAC VICE

                                                                                      Michael W. Scarborough
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Michelle Park Chiu
                                                                                      (See above for address)
                                                                                      TERMINATED: 11/01/2013

                                                                                      Scott A. Stempel
                                                                                      (See above for address)
                                                                                      TERMINATED: 11/01/2013
                                                                                      PRO HAC VICE

                                                                                      Sharon D. Mayo
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Steven Alan Reiss
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

 Defendant
 Hitachi Electronic Devices (USA)                                         represented by Eliot A. Adelson
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Ian T Simmons
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      James Maxwell Cooper
                                                                                      (See above for address)
                                                                                      TERMINATED: 04/03/2015


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                                                                James Mutchnik
                                                                (See above for address)
                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED

                                                                                         Jason Bruce Allen
                                                                                         (See above for address)
                                                                                         TERMINATED: 12/07/2011

                                                                                         Jeffrey L. Kessler
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Katherine Hamilton Wheaton
                                                                                         (See above for address)
                                                                                         PRO HAC VICE
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Kent Michael Roger
                                                                                         (See above for address)
                                                                                         TERMINATED: 11/01/2013

                                                                                         Matthew J. Hertko
                                                                                         (See above for address)
                                                                                         TERMINATED: 09/19/2014
                                                                                         PRO HAC VICE

                                                                                         Michael W. Scarborough
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Michelle Park Chiu
                                                                                         (See above for address)
                                                                                         TERMINATED: 11/01/2013
 Defendant
 Hitachi Ltd.                                                             represented by Eliot A. Adelson
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY

                                                                                         Adam C. Hemlock
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Barack Shem Echols
                                                                                         (See above for address)
                                                                                         PRO HAC VICE
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Christopher M. Curran
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Douglas L Wald
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                               245/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

                                                                          Ian T Simmons
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          James Maxwell Cooper
                                                                          (See above for address)
                                                                          TERMINATED: 04/03/2015

                                                                          James Mutchnik
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jason Bruce Allen
                                                                          (See above for address)
                                                                          TERMINATED: 12/07/2011

                                                                          Jeffrey L. Kessler
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          John Clayton Everett , Jr.
                                                                          (See above for address)
                                                                          TERMINATED: 11/01/2013

                                                                          John M. Taladay
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jon Vensel Swenson
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Katherine Hamilton Wheaton
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kent Michael Roger
                                                                          (See above for address)
                                                                          TERMINATED: 11/01/2013

                                                                          Matthew J. Hertko
                                                                          (See above for address)
                                                                          TERMINATED: 09/19/2014
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Michelle Park Chiu
                                                                          (See above for address)
                                                                          TERMINATED: 11/01/2013
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                246/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 247 of 302


                                                                                       Scott A. Stempel
                                                                                       (See above for address)
                                                                                       TERMINATED: 11/01/2013
                                                                                       PRO HAC VICE

                                                                                       Sharon D. Mayo
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Steven Alan Reiss
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

 Defendant
 Irico Display Devices Co., Ltd.
 Defendant
 Irico Group Corporation
 Defendant
 Irico Group Electronics Co., Ltd.
 Defendant
 Koninklijke Philips N.V.                                                 represented by Charles M Malaise
 "KPNV"                                                                                  (See above for address)
                                                                                         TERMINATED: 08/14/2015
                                                                                         LEAD ATTORNEY

                                                                                       David T. Emanuelson
                                                                                       (See above for address)
                                                                                       TERMINATED: 02/10/2014
                                                                                       LEAD ATTORNEY

                                                                                       Eric Berman
                                                                                       (See above for address)
                                                                                       TERMINATED: 11/13/2012
                                                                                       LEAD ATTORNEY

                                                                                       Adam C. Hemlock
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Christopher M. Curran
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Douglas L Wald
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Jeffrey L. Kessler
                                                                                       (See above for address)
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            247/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 248 of 302

                                                                ATTORNEY TO BE NOTICED

                                                                          John Clayton Everett , Jr.
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          John M. Taladay
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jon Vensel Swenson
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Joseph A. Ostoyich
                                                                          Howrey LLP
                                                                          1299 Pennsylvania Avenue, NW
                                                                          Washington, DC 20004
                                                                          212-896-6572
                                                                          Fax: 202-383-6610
                                                                          Email: OstoyichJ@howrey.com
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kent Michael Roger
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Marc Howard Kallish
                                                                          (See above for address)
                                                                          TERMINATED: 02/19/2015

                                                                          Michael W. Scarborough
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Michelle Park Chiu
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Richard P. Sobiecki
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Scott A. Stempel
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Sharon D. Mayo
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                  248/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 249 of 302

                                                                Stephen M. Ng
                                                                (See above for address)
                                                                TERMINATED: 11/21/2014
                                                                PRO HAC VICE

                                                                                       Steven Alan Reiss
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Stuart Christopher Plunkett
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Tiffany Belle Gelott ,
                                                                                       (See above for address)
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Van H. Beckwith
                                                                                       (See above for address)
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Erik T. Koons
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
 Defendant
 LG Electronics Taiwan Taipei Co., Ltd.                                   represented by Beth Harrison Parker
 TERMINATED: 10/15/2013                                                                  (See above for address)
                                                                                         TERMINATED: 11/16/2012
                                                                                         LEAD ATTORNEY

                                                                                       D. Eric Shapland
                                                                                       Heller Ehrman White & McAuliffe LLP
                                                                                       601 S. Figueroa Street
                                                                                       40th Floor
                                                                                       Los Angeles, CA 90017-5758
                                                                                       213-689-0200
                                                                                       Fax: 213-614-1868
                                                                                       Email: eshapland@hewm.com (Inactive)
                                                                                       TERMINATED: 11/16/2012
                                                                                       LEAD ATTORNEY

                                                                                       Douglas L Wald
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Eric Daniel Mason
                                                                                       Arnold and Porter
                                                                                       777 S Figueroa St
                                                                                       44th Fl
                                                                                       Los Angeles, CA 90017
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                   249/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 250 of 302

                                                                213-243-4000
                                                                Email: Eric.Mason@aporter.com
                                                                TERMINATED: 11/16/2012
                                                                LEAD ATTORNEY

                                                                          James Cooper
                                                                          (See above for address)
                                                                          TERMINATED: 11/16/2012
                                                                          LEAD ATTORNEY

                                                                          John David Lombardo
                                                                          (See above for address)
                                                                          TERMINATED: 11/16/2012
                                                                          LEAD ATTORNEY

                                                                          Marie L. Fiala
                                                                          Sidley Austin LLP
                                                                          TERMINATED: 04/04/2012
                                                                          LEAD ATTORNEY

                                                                          Miriam Kim
                                                                          (See above for address)
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Robert Brooks Martin , III
                                                                          (See above for address)
                                                                          TERMINATED: 04/04/2012
                                                                          LEAD ATTORNEY

                                                                          Ronald Charles Redcay
                                                                          (See above for address)
                                                                          TERMINATED: 11/16/2012
                                                                          LEAD ATTORNEY

                                                                          Ryan M. Sandrock
                                                                          (See above for address)
                                                                          TERMINATED: 04/04/2012
                                                                          LEAD ATTORNEY

                                                                          Samuel R. Miller
                                                                          Sidley Austin LLP
                                                                          TERMINATED: 04/04/2012
                                                                          LEAD ATTORNEY

                                                                          Sharon D. Mayo
                                                                          (See above for address)
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Wilson D. Mudge
                                                                          Arnold and Porter LLP
                                                                          555 Twelfth Street, N.W.
                                                                          Washington, DC 20004
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                250/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 251 of 302

                                                                202-942-5404
                                                                Fax: 202-942-5999
                                                                TERMINATED: 11/16/2012
                                                                LEAD ATTORNEY

                                                                                      Adam C. Hemlock
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Cathleen Hamel Hartge
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Esteban Martin Estrada
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Hojoon Hwang
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Ian T Simmons
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Jerome Cary Roth
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Jessica Barclay-Strobel
                                                                                      (See above for address)
                                                                                      TERMINATED: 06/21/2016

                                                                                      Kim YoungSang
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      William David Temko
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

 Defendant
 LG Electronics USA, Inc.                                                 represented by D. Eric Shapland
                                                                                         (See above for address)
                                                                                         TERMINATED: 11/16/2012
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Douglas L Wald
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED


https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            251/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 252 of 302

                                                                Eric Daniel Mason
                                                                (See above for address)
                                                                TERMINATED: 11/16/2012
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                          Miriam Kim
                                                                          (See above for address)
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          William David Temko
                                                                          (See above for address)
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Adam C. Hemlock
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Cathleen Hamel Hartge
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Esteban Martin Estrada
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Gregory J. Weingart
                                                                          Munger, Tolles and Olson LLP
                                                                          355 S. Grand Avenue
                                                                          35th Floor
                                                                          Los Angeles, CA 90071
                                                                          United Sta
                                                                          213-683-9100
                                                                          Fax: 213-687-3702
                                                                          Email: gregory.weingart@mto.com
                                                                          ATTORNEY TO BE NOTICED

                                                                          Hojoon Hwang
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Ian T Simmons
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jason Shefﬁeld Angell
                                                                          (See above for address)
                                                                          TERMINATED: 07/24/2015

                                                                          Jeffrey L. Kessler
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                     252/813
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                                                                          Jerome Cary Roth
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jessica Barclay-Strobel
                                                                          (See above for address)
                                                                          TERMINATED: 06/21/2016

                                                                          Jessica Nicole Leal
                                                                          (See above for address)
                                                                          TERMINATED: 07/24/2015

                                                                          Robert E. Freitas
                                                                          (See above for address)
                                                                          TERMINATED: 07/24/2015

                                                                          Xiaochin Claire Yan
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Beth Harrison Parker
                                                                          (See above for address)
                                                                          TERMINATED: 11/16/2012
                                                                          ATTORNEY TO BE NOTICED

                                                                          Bethany Woodard Kristovich ,
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          James Cooper
                                                                          (See above for address)
                                                                          TERMINATED: 11/16/2012
                                                                          ATTORNEY TO BE NOTICED

                                                                          John David Lombardo
                                                                          (See above for address)
                                                                          TERMINATED: 11/16/2012
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jonathan Ellis Altman
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kim YoungSang
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Laura K Lin
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Marie L. Fiala
                                                                          (See above for address)
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                  253/813
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                                                                TERMINATED: 04/04/2012
                                                                ATTORNEY TO BE NOTICED

                                                                                      Robert Brooks Martin , III
                                                                                      (See above for address)
                                                                                      TERMINATED: 04/04/2012
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Ronald Charles Redcay
                                                                                      (See above for address)
                                                                                      TERMINATED: 11/16/2012
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Ryan M. Sandrock
                                                                                      (See above for address)
                                                                                      TERMINATED: 04/04/2012
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Samuel R. Miller
                                                                                      (See above for address)
                                                                                      TERMINATED: 04/04/2012
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Sharon D. Mayo
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Wilson D. Mudge ,
                                                                                      (See above for address)
                                                                                      TERMINATED: 11/16/2012
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      YongSang Kim
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
 Defendant
 LP Displays International, Ltd.
 Defendant
 MT Picture Display Co., LTD                                              represented by Adam C. Hemlock
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      David L. Yohai
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Lucia Freda
                                                                                      (See above for address)
                                                                                      TERMINATED: 06/06/2013
                                                                                      LEAD ATTORNEY
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            254/813
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                                                                          A. Paul Victor
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Aldo A. Badini
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Amy Lee Stewart
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Bambo Obaro
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Christopher M. Curran
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Craig Y. Allison
                                                                          (See above for address)
                                                                          TERMINATED: 10/07/2015

                                                                          Diana Arlen Aguilar
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Douglas L Wald
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Eva W. Cole
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Gregory Hull
                                                                          (See above for address)
                                                                          TERMINATED: 12/18/2013

                                                                          James F. Lerner
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jeffrey L. Kessler
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jennifer Stewart
                                                                          (See above for address)
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 256 of 302

                                                                ATTORNEY TO BE NOTICED

                                                                          John Clayton Everett , Jr.
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          John M. Taladay
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          John Selim Tschirgi
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jon Vensel Swenson
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kent Michael Roger
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kevin B. Goldstein
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Lara Elvidge Veblen
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Marjan Hajibandeh
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Martin C. Geagan , Jr.
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Meaghan Parﬁtt Thomas-Kennedy
                                                                          (See above for address)
                                                                          TERMINATED: 11/24/2015

                                                                          Michael W. Scarborough
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Michelle Park Chiu
                                                                          (See above for address)
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https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                   256/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 257 of 302


                                                                                      Molly Donovan
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Molly M Donovan
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Ryan Michael Goodland
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Scott A. Stempel
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
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                                                                                      Sharon D. Mayo
                                                                                      (See above for address)
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                                                                                      Soﬁa Arguello ,
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Steven Alan Reiss
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

 Defendant
 Panasonic Corporation                                                    represented by David L. Yohai
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Lucia Freda
                                                                                      (See above for address)
                                                                                      TERMINATED: 06/06/2013
                                                                                      LEAD ATTORNEY

                                                                                      Adam C. Hemlock
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Amy Lee Stewart ,
                                                                                      Rose Law Firm
                                                                                      Litigation
                                                                                      120 East Fourth Street



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                                                                Little Rock,, AR 72201
                                                                (501) 377-0334
                                                                Fax: (501) 375-1309
                                                                Email: astewart@roselawﬁrm.com
                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED

                                                                          Bambo Obaro
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Christopher M. Curran
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Craig Y. Allison
                                                                          (See above for address)
                                                                          TERMINATED: 10/07/2015

                                                                          Douglas L Wald
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Eva W. Cole
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Gregory Hull
                                                                          (See above for address)
                                                                          TERMINATED: 12/18/2013

                                                                          Jeffrey L. Kessler
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                                                                          ATTORNEY TO BE NOTICED

                                                                          Jennifer Stewart
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          John Clayton Everett , Jr.
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                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          John M. Taladay
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jon Vensel Swenson
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kent Michael Roger
                                                                          (See above for address)
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1   ATTORNEY TO BE NOTICED       258/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 259 of 302

                                                                ATTORNEY TO BE NOTICED

                                                                                      Martin C. Geagan , Jr.
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Matthew Robert DalSanto
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Meaghan Parﬁtt Thomas-Kennedy
                                                                                      (See above for address)
                                                                                      TERMINATED: 11/24/2015
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Michael W. Scarborough
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Michelle Park Chiu
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Molly Donovan
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Scott A. Stempel
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Sharon D. Mayo
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Soﬁa Arguello ,
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Steven Alan Reiss
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
 Defendant
 Panasonic Corporation of North America                                   represented by David L. Yohai
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Lucia Freda
                                                                                      (See above for address)
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                               259/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 260 of 302

                                                                TERMINATED: 06/06/2013
                                                                LEAD ATTORNEY

                                                                          Amy Lee Stewart ,
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Bambo Obaro
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Christopher M. Curran
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Craig Y. Allison
                                                                          (See above for address)
                                                                          TERMINATED: 10/07/2015

                                                                          Diana Arlen Aguilar
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Douglas L Wald
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Gregory Hull
                                                                          (See above for address)
                                                                          TERMINATED: 12/18/2013

                                                                          James F. Lerner
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jeffrey L. Kessler
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jennifer Stewart
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          John Clayton Everett , Jr.
                                                                          (See above for address)
                                                                          PRO HAC VICE
                                                                          ATTORNEY TO BE NOTICED

                                                                          John M. Taladay
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                260/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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                                                                                       Jon Vensel Swenson
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Kent Michael Roger
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Lara Elvidge Veblen
                                                                                       (See above for address)
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Martin C. Geagan , Jr.
                                                                                       (See above for address)
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Meaghan Parﬁtt Thomas-Kennedy
                                                                                       (See above for address)
                                                                                       TERMINATED: 11/24/2015
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Michael W. Scarborough
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Michelle Park Chiu
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Scott A. Stempel
                                                                                       (See above for address)
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Sharon D. Mayo
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Soﬁa Arguello ,
                                                                                       (See above for address)
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Steven Alan Reiss
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
 Defendant
 Philips Electronics Industries (Taiwan),                                 represented by David Michael Lisi
 Ltd.                                                                                    (See above for address)
                                                                                         TERMINATED: 11/16/2015
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                261/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 262 of 302


                                                                                         Jon Vensel Swenson
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED
 Defendant
 Philips Electronics North America                                        represented by Charles M Malaise
                                                                                         (See above for address)
                                                                                         TERMINATED: 08/14/2015
                                                                                         LEAD ATTORNEY

                                                                                         Jon Vensel Swenson
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         David Michael Lisi
                                                                                         (See above for address)
                                                                                         TERMINATED: 11/16/2015

                                                                                         John M. Taladay
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Joseph A. Ostoyich
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Erik T. Koons
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

 Defendant
 Philips da Amazonia Industria                                            represented by Jon Vensel Swenson
 Electronica Ltda.                                                                       (See above for address)
                                                                                         ATTORNEY TO BE NOTICED
 Defendant
 Samsung Electronics America, Inc.                                        represented by David Kendall Roberts
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Kent Michael Roger
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         James Landon McGinnis
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

 Defendant
 Samsung Electronics Co., Ltd                                             represented by Ian T Simmons
                                                                                         (See above for address)
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            262/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 263 of 302

                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                                      Kent Michael Roger
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Michael W. Scarborough
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
 Defendant
 Samsung SDI (Malaysia) SDN BHD                                           represented by Adam C. Hemlock
 TERMINATED: 07/20/2015                                                                  (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Bruce Cobath
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Christopher M. Curran
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Douglas L Wald
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Gary L. Halling
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Helen Cho Eckert
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Ian T Simmons
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Jeffrey L. Kessler
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      John Clayton Everett , Jr.
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      John M. Taladay
                                                                                      (See above for address)
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 264 of 302

                                                                Jon Vensel Swenson
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

                                                                                       Kent Michael Roger
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Leo David Caseria
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Michael W. Scarborough
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Michelle Park Chiu
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Mona Solouki
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Scott A. Stempel
                                                                                       (See above for address)
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Sharon D. Mayo
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Steven Alan Reiss
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Tyler Mark Cunningham
                                                                                       (See above for address)
                                                                                       TERMINATED: 05/12/2016

                                                                                       James Landon McGinnis
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

 Defendant
 Samsung SDI America, Inc.                                                represented by Tyler Mark Cunningham
 TERMINATED: 07/20/2015                                                                  (See above for address)
                                                                                         TERMINATED: 05/12/2016
                                                                                         LEAD ATTORNEY

                                                                                       Bruce Cobath
                                                                                       (See above for address)
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            264/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 265 of 302

                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED

                                                                          Christopher M. Curran
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Douglas L Wald
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Dylan Ian Ballard
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Gary L. Halling
                                                                          (See above for address)
                                                                          TERMINATED: 01/13/2012

                                                                          Helen Cho Eckert
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Ian T Simmons
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          James Landon McGinnis
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jeffrey L. Kessler
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          John Clayton Everett , Jr.
                                                                          (See above for address)
                                                                          PRO HAC VICE
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                                                                          John M. Taladay
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                                                                          ATTORNEY TO BE NOTICED

                                                                          Jon Vensel Swenson
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kent Michael Roger
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Leo David Caseria
                                                                          (See above for address)
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 266 of 302

                                                                ATTORNEY TO BE NOTICED

                                                                                       Michael W. Scarborough
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Michelle Park Chiu
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Mona Solouki
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Scott A. Stempel
                                                                                       (See above for address)
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Sharon D. Mayo
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Steven Alan Reiss
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
 Defendant
 Samsung SDI Brasil LTDA                                                  represented by Tyler Mark Cunningham
 TERMINATED: 07/20/2015                                                                  (See above for address)
                                                                                         TERMINATED: 05/12/2016
                                                                                         LEAD ATTORNEY

                                                                                       Adam C. Hemlock
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Bruce Cobath
                                                                                       (See above for address)
                                                                                       PRO HAC VICE
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                                                                                       Christopher M. Curran
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Douglas L Wald
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Gary L. Halling
                                                                                       (See above for address)
                                                                                       TERMINATED: 01/13/2012

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                                                                Helen Cho Eckert
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

                                                                          Ian T Simmons
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jeffrey L. Kessler
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          John Clayton Everett , Jr.
                                                                          (See above for address)
                                                                          PRO HAC VICE
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                                                                          John M. Taladay
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                                                                          Jon Vensel Swenson
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                                                                          Kent Michael Roger
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                                                                          Leo David Caseria
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                                                                          Michael W. Scarborough
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                                                                          Michelle Park Chiu
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                                                                          Mona Solouki
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                                                                          Scott A. Stempel
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                                                                          Sharon D. Mayo
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 268 of 302

                                                                Steven Alan Reiss
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

                                                                                       James Landon McGinnis
                                                                                       (See above for address)
                                                                                       ATTORNEY TO BE NOTICED
 Defendant
 Samsung SDI Co., Ltd.                                                    represented by Tyler Mark Cunningham
 TERMINATED: 07/20/2015                                                                  (See above for address)
                                                                                         TERMINATED: 05/12/2016
                                                                                         LEAD ATTORNEY

                                                                                       Bruce Cobath
                                                                                       (See above for address)
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Christopher M. Curran
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                                                                                       Douglas L Wald
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                                                                                       Dylan Ian Ballard
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                                                                                       Gary L. Halling
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                                                                                       TERMINATED: 01/13/2012

                                                                                       Helen Cho Eckert
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                                                                                       Ian T Simmons
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                                                                                       Jeffrey L. Kessler
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                                                                                       John Clayton Everett , Jr.
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                                                                                       PRO HAC VICE
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                                                                                       John M. Taladay
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 269 of 302

                                                                ATTORNEY TO BE NOTICED

                                                                                       Jon Vensel Swenson
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                                                                                       Kent Michael Roger
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                                                                                       Leo David Caseria
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                                                                                       Michael W. Scarborough
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                                                                                       Michelle Park Chiu
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                                                                                       Scott A. Stempel
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                                                                                       Sharon D. Mayo
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                                                                                       Steven Alan Reiss
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                                                                                       James Landon McGinnis
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                                                                                       ATTORNEY TO BE NOTICED

 Defendant
 Samsung SDI Mexico S.A. de C.V.                                          represented by Tyler Mark Cunningham
 TERMINATED: 07/20/2015                                                                  (See above for address)
                                                                                         TERMINATED: 05/12/2016
                                                                                         LEAD ATTORNEY

                                                                                       Bruce Cobath
                                                                                       (See above for address)
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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                                                                          Christopher M. Curran
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                                                                          Douglas L Wald
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                                                                          Dylan Ian Ballard
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                                                                          Gary L. Halling
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                                                                          Helen Cho Eckert
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                                                                          Jeffrey L. Kessler
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                                                                          John Clayton Everett , Jr.
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                                                                          John M. Taladay
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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                                                                Michelle Park Chiu
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                                                                                      Mona Solouki
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                                                                                      Scott A. Stempel
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                                                                                      James Landon McGinnis
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                                                                                      ATTORNEY TO BE NOTICED
 Defendant
 Samtel Color, Ltd.                                                       represented by William Diaz
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED
 Defendant
 Shenzhen Samsung SDI Co. LTD.                                            represented by Adam C. Hemlock
 TERMINATED: 07/20/2015                                                                  (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Bruce Cobath
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                                                                                      Christopher M. Curran
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                                                                TERMINATED: 01/13/2012

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                                                                          Jeffrey L. Kessler
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                                                                          John Clayton Everett , Jr.
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                                                                          John M. Taladay
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 273 of 302

                                                                ATTORNEY TO BE NOTICED

                                                                                      James Landon McGinnis
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                                                                                      Michael W. Scarborough
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Tyler Mark Cunningham
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
 Defendant
 Shenzhen Seg Hitachi Color Display
 Devices, LTD.
 Defendant
 Thai CRT Company, Ltd.
 Defendant
 Tianjin Samsung SDI Co., Ltd.                                            represented by Adam C. Hemlock
 TERMINATED: 07/20/2015                                                                  (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Bruce Cobath
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
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                                                                                      Christopher M. Curran
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                                                                                      Douglas L Wald
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                                                                                      Dylan Ian Ballard
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                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Gary L. Halling
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Helen Cho Eckert
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                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Ian T Simmons
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https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            273/813
8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 274 of 302


                                                                          Jeffrey L. Kessler
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          John Clayton Everett , Jr.
                                                                          (See above for address)
                                                                          PRO HAC VICE
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                                                                          John M. Taladay
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                                                                          Jon Vensel Swenson
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                                                                          Kent Michael Roger
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                                                                          Leo David Caseria
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                                                                          Michael W. Scarborough
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                                                                          ATTORNEY TO BE NOTICED

                                                                          Michelle Park Chiu
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                                                                          Mona Solouki
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                                                                          Scott A. Stempel
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                                                                          Sharon D. Mayo
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                                                                          Steven Alan Reiss
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                                                                          James Landon McGinnis
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 275 of 302


                                                                                      Tyler Mark Cunningham
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
 Defendant
 Toshiba America Consumer Products,                                       represented by Kent Michael Roger
 Inc.                                                                                    (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Samuel J. Sharp
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      William H. Bave , III
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED
 Defendant
 Toshiba America Electronics                                              represented by Adam C. Hemlock
 Components, Inc                                                                         (See above for address)
 TERMINATED: 07/05/2016                                                                  ATTORNEY TO BE NOTICED

                                                                                      Aya Kobori
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Christopher M. Curran
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Dana E. Foster
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Douglas L Wald
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Ian T Simmons
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Jeffrey L. Kessler
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Jeremy Kent Ostrander
                                                                                      (See above for address)
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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                                                                John Clayton Everett , Jr.
                                                                (See above for address)
                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED

                                                                          John Mark Gidley
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          John M. Taladay
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jon Vensel Swenson
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Kent Michael Roger
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Lucius Bernard Lau
                                                                          White & Case LLP
                                                                          701 13th Street, N.W.
                                                                          Washington, DC 20005
                                                                          202-626-3696
                                                                          Email: alau@whitecase.com
                                                                          ATTORNEY TO BE NOTICED

                                                                          Michael E. Hamburger
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Michelle Park Chiu
                                                                          (See above for address)
                                                                          ATTORNEY TO BE NOTICED

                                                                          Samuel J. Sharp
                                                                          (See above for address)
                                                                          PRO HAC VICE
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                                                                          Samuel James Sharp
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                                                                          Scott A. Stempel
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                                                                          PRO HAC VICE
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                                                                          Sharon D. Mayo
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 277 of 302


                                                                                      Steven Alan Reiss
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Tsung-Hui (Danny) Wu
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      William H. Bave , III
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Charise Naifeh
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Matthew Frutig
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

 Defendant

 Toshiba America Information Systems,                                     represented by Aya Kobori
 Inc.                                                                                    (See above for address)
 TERMINATED: 07/05/2016                                                                  PRO HAC VICE
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Christopher M. Curran
                                                                                      (See above for address)
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                                                                                      Dana E. Foster
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                                                                                      Ian T Simmons
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                                                                                      John Mark Gidley
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                                                                                      Kent Michael Roger
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                                                                                      Lucius Bernard Lau
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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                                                                                      Michael W. Scarborough
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Samuel J. Sharp
                                                                                      (See above for address)
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                                                                                      Samuel James Sharp
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                                                                                      William H. Bave , III
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                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Charise Naifeh
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Matthew Frutig
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
 Defendant
 Toshiba America, Inc                                                     represented by Aya Kobori
 TERMINATED: 07/05/2016                                                                  (See above for address)
                                                                                         PRO HAC VICE
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Christopher M. Curran
                                                                                      (See above for address)
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                                                                                      Dana E. Foster
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                                                                                      Ian T Simmons
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                                                                                      John Mark Gidley
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                                                                                      Lucius Bernard Lau
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                                                                                      Michael W. Scarborough
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED

                                                                                      Samuel J. Sharp
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
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                                                                                      Samuel James Sharp
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                                                                                      William H. Bave , III
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Charise Naifeh
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED
 Defendant
 Toshiba Corporation                                                      represented by Aya Kobori
 TERMINATED: 07/05/2016                                                                  (See above for address)
                                                                                         PRO HAC VICE
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Dana E. Foster
                                                                                      (See above for address)
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                                                                                      Douglas L Wald
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                                                                                      Jeffrey L. Kessler
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                                                                                      John Clayton Everett , Jr.
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                                                                                      John M. Taladay
                                                                                      (See above for address)
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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                                                                ATTORNEY TO BE NOTICED

                                                                                        Michelle Park Chiu
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 Defendant
 LG Displays International, Ltd.
 Defendant
 Mitsubishi Electric Corporation                                          represented by Brent Caslin

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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 283 of 302

                                                                ATTORNEY TO BE NOTICED
 Defendant
 Thomson Consumer Electronics, Inc.                                       represented by Calvin Lee Litsey
 also known as                                                                           (See above for address)
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 284 of 302

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 Defendant
 Thomson S.A.                                                             represented by Calvin Lee Litsey
 also known as                                                                           (See above for address)
 Technicolor SA                                                                          LEAD ATTORNEY
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                                                                                      Robert Andrew Sacks
                                                                                      (See above for address)
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                                                                                      LEAD ATTORNEY

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                                                                                         Stephen Michael Judge
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                                                                                         TERMINATED: 09/28/2015

 Defendant
 Meridian Solar & Display Co., Ltd.
 Defendant
 PT.MT Picture Display Indonesia                                          represented by PT.MT Picture Display Indonesia
                                                                                         PRO SE

                                                                                         Craig Y. Allison
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                                                                                         TERMINATED: 10/07/2015
 Defendant
 Videocon Industries, Ltd.
 Defendant
 Technologies Displays Americas LLC                                       represented by Arthur Slezak Gaus
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                                                    CAND-ECFFiled 08/05/16 Page 286 of 302

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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 287 of 302

 Defendant
 Technologies Displays Mexicana, S.A. de
 C.V.

 Defendant
 Technicolor S.A                                                          represented by Calvin L. Litsey
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                                                                                      Stephen Michael Judge
                                                                                      (See above for address)
                                                                                      TERMINATED: 09/28/2015
 Defendant
 Technicolor USA, Inc.                                                    represented by Calvin L. Litsey
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 Thomson Consumer Electronics, Inc.                                                      ATTORNEY TO BE NOTICED

                                                                                      Anna Marie Konradi
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Calvin Lee Litsey
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Stephen Michael Judge
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 Defendant
 Philips Consumer Electronics Co.
 Defendant
 Koninklijke Philips Electronics N.V.                                     represented by Erik T. Koons
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                                                                                         LEAD ATTORNEY
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
                                                    CAND-ECFFiled 08/05/16 Page 288 of 302


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 Defendant
 Chunghwa Picture Tubes (Malaysia)
 Defendant
 Mitsubishi Electric Visual Solutions                                     represented by Terrence Joseph Truax
 America, Inc                                                                            (See above for address)
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 Defendant
 Philips Taiwan Limited                                                   represented by Charles M Malaise
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                                                                                         TERMINATED: 08/14/2015
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                                                    CAND-ECFFiled 08/05/16 Page 290 of 302

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 Defendant
 LG.Philips Display Holding B.V.
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                                                    CAND-ECFFiled 08/05/16 Page 291 of 302


 Defendant
 LG.Philips Displays International B.V.
 Defendant
 Samsung SDI (Hong Kong), Ltd.
 TERMINATED: 07/20/2015
 Defendant
 Mitsubishi Electric US, Inc.                                             represented by Michael T. Brody
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                                                                                        Terrence Joseph Truax
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 V.
 Respondent
 Alan Frankel                                                             represented by Alan Frankel
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8/5/2016           Case 4:07-cv-05944-JST Document 4747-4
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                                                                                         TERMINATED: 12/18/2014
                                                                                         ATTORNEY TO BE NOTICED


 V.
 Movant
 Donna Ellingson                                                          represented by Alan Roth Plutzik
 TERMINATED: 03/30/2009                                                                  (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Jennifer Susan Rosenberg
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED
 Movant
 Christopher Donnelly                                                     represented by Christopher Donnelly
 TERMINATED: 07/01/2014                                                                  JK5048
                                                                                         301 Institution Drive
                                                                                         Bellefonte, PA 16823
                                                                                         PRO SE
 Movant
 Christopher Wirth                                                        represented by Christopher Wirth
                                                                                         LA2120
                                                                                         301 Institution Drive
                                                                                         Bellefonte, PA 16823
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                       292/813
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                                                                PRO SE
 Movant
 Jimmy Jahar Thule                                                        represented by Jimmy Jahar Thule
 TERMINATED: 07/01/2014                                                                  518 George Road
                                                                                         Toms River, NJ 08753
                                                                                         PRO SE
 Movant
 Jonathan Rich                                                            represented by Jonathan Rich
 TERMINATED: 07/01/2014                                                                  KX9662
                                                                                         301 Institution Drive
                                                                                         Bellefonte, CA 16823
                                                                                         PRO SE

 Movant
 Ramzi Yusef                                                              represented by Ramzi Yusef
 TERMINATED: 07/01/2014                                                                  5880 Highway 67
                                                                                         Florence, CO 81226
                                                                                         PRO SE

 Movant
 Edward Breivik                                                           represented by Edward Breivik
 TERMINATED: 07/01/2014                                                                  1586 Lawrence Road
                                                                                         Lawrence, NJ 08648
                                                                                         PRO SE

 Movant
 Richard Reid                                                             represented by Richard Reid
 TERMINATED: 07/01/2014                                                                  5880 Highway 67
                                                                                         Florence, CO 81226
                                                                                         PRO SE
 Interested Party
 Nathan Muchnick, Inc.                                                    represented by Brendan Patrick Glackin
 TERMINATED: 03/30/2009                                                                  (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Eric B. Fastiff
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Joseph R. Saveri
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Manfred Patrick Muecke
                                                                                         (See above for address)
                                                                                         TERMINATED: 01/13/2012

                                                                                         Richard Martin Heimann
                                                                                         Lieff Cabraser Heimann & Bernstein LLP

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                                                                275 Battery Street, 30th Floor
                                                                San Francisco, CA 94111-3339
                                                                415-956-1000
                                                                Fax: 415 956-1008
                                                                Email: rheimann@lchb.com
                                                                ATTORNEY TO BE NOTICED
 Interested Party
 Jeffrey Figone                                                           represented by Brian Joseph Barry
 TERMINATED: 03/30/2009                                                                  (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Joseph Mario Patane
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Lauren Clare Capurro
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Manfred Patrick Muecke
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Sylvie K. Kern
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

 Interested Party
 Wettstein & Sons, Inc                                                    represented by Ranae D. Steiner
 TERMINATED: 03/30/2009                                                                  (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Manfred Patrick Muecke
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

                                                                                      Scott W. Carlson
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Vincent J. Esades
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

 Interested Party
 Royal Data Services, Inc.                                                represented by Elizabeth R. Odette
 TERMINATED: 03/30/2009                                                                  (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      W. Joseph Bruckner
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            294/813
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                                                                (See above for address)
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                                                      Manfred Patrick Muecke
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012
 Interested Party
 OK TV & Appliances, LLC                                                  represented by Elizabeth R. Odette
 TERMINATED: 03/30/2009                                                                  (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      W. Joseph Bruckner
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Manfred Patrick Muecke
                                                                                      (See above for address)
                                                                                      TERMINATED: 01/13/2012

 Interested Party
 Mitsubishi Digital Electronics Americas,                                 represented by Brent Caslin
 Inc.                                                                                    (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Michael T. Brody
                                                                                      (See above for address)
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Terrence Joseph Truax
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

 Interested Party
 Mitsubishi Electric & Electronics USA,                                   represented by Brent Caslin
 Inc.                                                                                    (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Gabriel A. Fuentes
                                                                                      (See above for address)
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Michael T. Brody
                                                                                      Jenner & Block LLP
                                                                                      353 North Clark Street
                                                                                      Chicago, IL 60654-3456
                                                                                      (312) 222-9350
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                            295/813
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                                                    CAND-ECFFiled 08/05/16 Page 296 of 302

                                                                Fax: (312) 527-0484
                                                                Email: mbrody@jenner.com
                                                                PRO HAC VICE
                                                                ATTORNEY TO BE NOTICED

                                                                                        Molly McGrail Powers
                                                                                        (See above for address)
                                                                                        TERMINATED: 08/06/2015

                                                                                        Ryan Seth Goldstein
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Shaun M. Van Horn
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        Terrence Joseph Truax
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Interested Party
 State of California                                                      represented by Emilio Eugene Varanini , IV
                                                                                         State Attorney General's Ofﬁce
                                                                                         455 Golden Gate Avenue
                                                                                         Suite 11000
                                                                                         San Francisco, CA 94102-7004
                                                                                         415-703-5908
                                                                                         Fax: 415-703-5480
                                                                                         Email: Emilio.Varanini@doj.ca.gov
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                        Paul Andrew Moore
                                                                                        Attorney at Law
                                                                                        244 California Street
                                                                                        Suite 300
                                                                                        San Francisco, CA 94111
                                                                                        415-728-1693
                                                                                        Email: Paul.Moore@doj.ca.gov
                                                                                        ATTORNEY TO BE NOTICED

 Interested Party
 Newegg Inc.                                                              represented by Gordon M. Fauth , Jr.
                                                                                         Litigation Law Group
                                                                                         1801 Clement Av
                                                                                         Suite 101
                                                                                         Alameda, CA 94501
                                                                                         (510) 238-9610
                                                                                         Fax: (510) 337-1431
                                                                                         Email: gmf@classlitigation.com
                                                                                         ATTORNEY TO BE NOTICED

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 Interested Party
 Atty for Non-Party Pillsbury Winthrop                                    represented by Dianne L. Sweeney
 Shaw Pittman LLP                                                                        Pillsbury Winthrop Shaw Pittman LLP
                                                                                         2550 Hanover Street
                                                                                         Palo Alto, CA 94304
                                                                                         (650) 233-4500
                                                                                         Fax: (650) 233-4545
                                                                                         Email: dianne@pillsburylaw.com
                                                                                         ATTORNEY TO BE NOTICED
 Objector
 Sean Hull                                                                represented by Joseph Darrell Palmer
 Individual                                                                              2244 Faraday Avenue
                                                                                         Suite 121
                                                                                         Carlsbad, CA 92008
                                                                                         858-215-4064
                                                                                         Fax: 866-583-8115
                                                                                         Email:
                                                                                         darrell.palmer@palmerlegalteam.com
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED
 Objector
 Sean Hull                                                                represented by Timothy Ricardo Hanigan
                                                                                         Lang Hanigan & Carvalho, LLP
                                                                                         21550 Oxnard Street, Suite 760
                                                                                         Woodland Hills, CA 91367
                                                                                         818-883-5644
                                                                                         Fax: 818-704-9372
                                                                                         Email: trhanigan@gmail.com
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

 Objector
 Gordon Morgan                                                            represented by Timothy Ricardo Hanigan
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED
 Objector
 Douglas W. St. John                                                      represented by Andrea Marie Valdez
                                                                                         Andrea Valdez, Esq.
                                                                                         530 S. Lake Avenue, No. 574
                                                                                         Pasadena, CA 91101
                                                                                         626-817-6547
                                                                                         Email: andrea.valdez.esq@gmail.com
                                                                                         ATTORNEY TO BE NOTICED

                                                                                        Joseph Scott St. John
                                                                                        514 Mockingbird Drive
                                                                                        Long Beach, MS 39560
                                                                                        410-212-3475
                                                                                        Email: jscottstjohnpublic@gmail.com
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                        297/813
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                                                                ATTORNEY TO BE NOTICED
 Objector
 Dan L. Williams & Co.                                                    represented by Paul Brian Justi
                                                                                         Law Ofﬁces of Paul B. Justi
                                                                                         1981 North Broadway, Suite 250
                                                                                         Walnut Creek, CA 94596
                                                                                         925 256-7900
                                                                                         Fax: 925 256-9204
                                                                                         Email: pbjusti@comcast.net
                                                                                         ATTORNEY TO BE NOTICED
 Objector
 John Finn                                                                represented by Steve A Miller
 Steve A. Miller, P.C.                                                                   Steve A. Miller, P.C.
 1625 Larimer St.                                                                        1625 Larimer St.
 No. 2905                                                                                Suite 2905
 Denver, CO 80202                                                                        Denver, CO 80013
 303-892-9933                                                                            303-892-9933
                                                                                         Email: sampc01@gmail.com
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED
 Objector
 Laura Fortman                                                            represented by Steve A Miller
 Steve A. Miller, P.C.                                                                   (See above for address)
 1625 Larimer St.                                                                        LEAD ATTORNEY
 No. 2905                                                                                ATTORNEY TO BE NOTICED
 Denver, CO 80202
 303-892-9933
 Objector
 Rockhurst University                                                     represented by Jill Tan Lin
                                                                                         Attorney at Law
                                                                                         One Sansome Street, 35th Floor
                                                                                         San Francisco, CA 94104
                                                                                         (415) 434-8900
                                                                                         Fax: (415) 434-9200
                                                                                         Email: jill.tan.lin@gmail.com
                                                                                         ATTORNEY TO BE NOTICED

                                                                                        Theresa Driscoll Moore
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Objector
 Gary Talewsky                                                            represented by Jill Tan Lin
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                        Theresa Driscoll Moore
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
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                                                    CAND-ECFFiled 08/05/16 Page 299 of 302

 Objector
 Harry Garavanian                                                         represented by Jill Tan Lin
                                                                                         (See above for address)
                                                                                         ATTORNEY TO BE NOTICED

                                                                                        Theresa Driscoll Moore
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Objector
 Paul Palmer                                                              represented by Joseph Darrell Palmer
 Individual                                                                              (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED
 Objector
 Donnie Clifton                                                           represented by Jan Leigh Westfall
                                                                                         Law Ofﬁces of Jan Westfall
                                                                                         29896 Blue Water Way
                                                                                         Menifee, CA 92584
                                                                                         650-281-3003
                                                                                         Email: jlwestfall.esq@gmail.com
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

 Objector
 Josie Saik                                                               represented by George Cochran
                                                                                         2016 sherwood ave
                                                                                         louisville, ky 40205
                                                                                         502-690-7012
                                                                                         Fax: 502-690-7012
                                                                                         Email: lawchrist@gmail.com
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

 Miscellaneous
 Carroll Cut-Rate Furniture                                               represented by Jeff D Friedman
 TERMINATED: 03/30/2009                                                                  (See above for address)
                                                                                         ATTORNEY TO BE NOTICED
 Miscellaneous
 Douglas A. Kelley                                                        represented by James M. Lockhart
 as Chapter 11 Trustee for Petters Company,                                              (See above for address)
 Inc. and related entities, and as Receiver for                                          TERMINATED: 09/12/2013
 Petters Company, LLC and related entities
                                                                                        Jessica Lynn Meyer
                                                                                        (See above for address)
                                                                                        TERMINATED: 09/12/2013

                                                                                        Philip J Iovieno
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                    299/813
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                                                                                        William A. Isaacson
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Miscellaneous
 John R. Stoebner                                                         represented by James M. Lockhart
 as Chatper 7 Trustee for PBE Consumer                                                   (See above for address)
 Electronics, LLC and related entities                                                   TERMINATED: 09/12/2013

                                                                                        Jessica Lynn Meyer
                                                                                        (See above for address)
                                                                                        TERMINATED: 09/12/2013

                                                                                        Kelly Laudon
                                                                                        (See above for address)
                                                                                        TERMINATED: 09/12/2013

                                                                                        Philip J Iovieno
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

                                                                                        William A. Isaacson
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Miscellaneous
 State of Connecticut                                                     represented by Gary Becker
 George Jepsen, Connecticut Attorney                                                     Attorney General of Connecticut
 General                                                                                 55 Elm Street
                                                                                         Hartford, CT 06106
                                                                                         860-808-5040
                                                                                         Fax: 860-808-5391
                                                                                         Email: gary.becker@ct.gov
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

 Miscellaneous
 Commonwealth of Massachusetts                                            represented by Matthew Mark Lyons
 Maura Healey, Attorney General of                                                       Ofﬁce of the Attorney General of
 Massachusetts                                                                           Massachusetts
                                                                                         Antitrust
                                                                                         One Ashburton Place, 18th Fl.
                                                                                         Boston, MA 02118
                                                                                         617-963-2128
                                                                                         Email: matthew.lyons@state.ma.us
                                                                                         ATTORNEY TO BE NOTICED


 V.
 Intervenor
 U.S. Department of Justice, Antitrust                                    represented by Anna Tryon Pletcher
 Division                                                                                Department of Justice
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                                     300/813
8/5/2016  Case 4:07-cv-05944-JST Document 4747-4
                                           CAND-ECFFiled 08/05/16 Page 301 of 302

 TERMINATED: 03/30/2009                                Antitrust Division
                                                       450 Golden Gate Avenue
                                                       Box 36046
                                                       Room 10-0101
                                                       San Francisco, CA 94102
                                                       415-934-5300
                                                       Fax: 415-934-5300
                                                       Email: anna.pletcher@usdoj.gov
                                                       TERMINATED: 02/12/2011
                                                       ATTORNEY TO BE NOTICED

                                                                          Barbara J. Nelson
                                                                          U.S. Department of Justice
                                                                          450 Golden Gate Avenue
                                                                          Box 36046, Room 10-0101
                                                                          San Francisco, CA 94102
                                                                          415-436-6660
                                                                          Fax: 415-436-6687
                                                                          Email: barbara.nelson@usdoj.gov
                                                                          ATTORNEY TO BE NOTICED

                                                                          Jeane Hamilton
                                                                          Department of Justice - U.S. Attorney's
                                                                          Ofﬁce
                                                                          Northern District
                                                                          1301 Clay Street
                                                                          Suite 340S
                                                                          Oakland, CA 94612
                                                                          510-637-3680
                                                                          Fax: 510-637-3724
                                                                          Email: jeane.hamilton2@usdoj.gov
                                                                          ATTORNEY TO BE NOTICED

                                                                          Lidia Maher
                                                                          U.S. Department of Justice
                                                                          Antitrust Division
                                                                          450 Golden Gate Avenue
                                                                          Box 36046, Room 10-0101
                                                                          San Francisco, CA 94102
                                                                          (415) 934-5300
                                                                          Fax: (415) 934-5399
                                                                          Email: Lidia.Maher@usdoj.gov
                                                                          ATTORNEY TO BE NOTICED

                                                                          May Lee Heye
                                                                          United States Department of Justice
                                                                          Antitrust Division
                                                                          450 Golden Gate Ave.
                                                                          Room 10-0101, Box 36046
                                                                          San Francisco, CA 94102
                                                                          415-934-5300
                                                                          Fax: (415) 934-5399
                                                                          Email: may.heye@usdoj.gov
                                                                          TERMINATED: 11/07/2013
https://ecf.cand.uscourts.gov/cgi-bin/DktRpt.pl?611762315700872-L_1_0-1                                             301/813
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                                                                                         Tai Snow Milder
                                                                                         U.S. Attorney's Ofﬁce (Oakland Division)
                                                                                         1301 Clay Street
                                                                                         Suite 340 S
                                                                                         Oakland, CA 94612
                                                                                         510-637-3932
                                                                                         Fax: 510-637-3724
                                                                                         Email: tai.milder@usdoj.gov
                                                                                         TERMINATED: 11/07/2013
 Intervenor
 State of Illinois                                                        represented by Blake Lee Harrop
                                                                                         Ofﬁce of the Attorney General
                                                                                         100 W. Randolph St.
                                                                                         Chicago, IL 60601
                                                                                         312-814-1004
                                                                                         Fax: 312-814-4209
                                                                                         Email: bharrop@atg.state.il.us
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         Chadwick Oliver Brooker
                                                                                         Ofﬁce of the Illinois Attorney General
                                                                                         100 W. Randolph
                                                                                         Chicago, IL 60601
                                                                                         312-793-3891
                                                                                         Email: cbrooker@atg.state.il.us
                                                                                         ATTORNEY TO BE NOTICED
 Intervenor
 State of Oregon                                                          represented by Tim David Nord
                                                                                         Oregon Department of Justice
                                                                                         1162 Court Street NE
                                                                                         Salem, OR 97301-4096
                                                                                         503-947-4333
                                                                                         Fax: 503-378-5017
                                                                                         Email: tim.d.nord@state.or.us
                                                                                         ATTORNEY TO BE NOTICED


  Date Filed                #      Docket Text
  11/26/2007                    1 CLASS ACTION COMPLAINT and Jury Trial Demand - (Summons Issued) against all
                                  defendants, (Filing Fee: $350.00, receipt number 34611012787). Filed by Crago, Inc..
                                  (ys, COURT STAFF) (Filed on 11/26/2007) (aaa, Court Staff). (Additional attachment(s)
                                  added on 5/22/2015: #(1) Civil Cover Sheet) (aaa, COURT STAFF). (Additional
                                  attachment(s) added on 5/22/2015: #(2) Receipt) (aaa, COURT STAFF). (Entered:
                                  11/27/2007)
  11/26/2007                    2 ADR SCHEDULING ORDER: Case Management Statement due by 2/29/2008. Case
                                  Management Conference set for 3/7/2008 10:00 AM. (Attachments: # 1 standing order
                                  and cmc order)(ys, COURT STAFF) (Filed on 11/26/2007) (Entered: 11/27/2007)

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